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                             UNITED       STATES   DISTRICT      COURT

                             EASTERN DISTRICT           OF VIRGINIA

                                      Norfolk Division




 UNITED STATES OF AMERICA,


 v.                                                              Criminal No.       2:13crl56


 W.   WAYNE PERRY,      JR.,


 and


 ANGELA PERRY,
                     Defendants.




                                     OPINION and ORDER


        This    criminal         matter    is   before    the    Court   on a   motion         filed

 by    defendant     W.      Wayne        Perry,    Jr.    ("Perry"      or     "Mr.      Perry")

 seeking    a    bill       of    particulars       as     to    Count    Fourteen        of    the

 superseding indictment,              ECF No.       64,    and a motion filed by the

 United States of America ("Government")                           seeking to disqualify

 Perry's retained counsel based on the alleged need for counsel

 to    testify as       a    fact    witness       at    trial.1     ECF      No.   80.        Also

 pending before           the      Court    is a        motion    filed by      co-defendant

 Angela    Perry,    Mr.         Perry's wife,      seeking to join in the motion

 for a bill of particulars.                 ECF No. 91.



 1 Perry is represented by John Davis ("Mr. Davis"), Gray Broughton
 ("Mr. Broughton"), and Brendan O'Toole of the law firm Williams Mullen
 (collectively "Perry's counsel" or "defense counsel").   Mr. Davis and
 Mr. Broughton are both partners at Williams Mullen and both appeared
 at the two motions hearings that have been conducted in this case.
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       This     Court   previously issued an Order deferring ruling on

 Mr. Perry's motion seeking a bill of particulars and instructed

 the   parties     to    confer      in    an    effort        to    agree    on    additional

 disclosures that could be                made by the Government              to narrow the

 field     of   evidence       to    be    admitted       at        trial    without    giving

 Defendant an improper preview of the Government's case.                               ECF No.

 74.     As the parties were unable to reach such an agreement, the

 Court held a hearing on both motions on May 30, 2014.                                 For the

 reasons    set   forth in detail           below:       (1)    Angela Perry's         written

 motion for leave to join in Mr. Perry's motion seeking a bill of

particulars is GRANTED;2 (2) the joint motion seeking a bill of
particulars       is    GRANTED;      and       (3)     the    Government's         motion   to

disqualify defense counsel is DENIED.

                    I. Factual and Procedural Background

                        A. Allegations in the Indictment

       Mr. Perry and his wife Angela Perry (collectively with Mr.

 Perry,    "Defendants")       are charged with numerous health care fraud

related offenses          in    an    eighteen-count            superseding         indictment

that was filed on February 5,                   2014.     ECF No. 61.          As stated in

the      superseding      indictment,           Mr.     Perry        owned    and    operated



2 The motion seeking a bill of particulars as to Count Fourteen, ECF
No. 64, was initially filed only by counsel for Mr. Perry.      Counsel
for Angela Perry appeared at the May 30, 2014 motions hearing and
orally requested leave to join in Mr. Perry's written motion. Counsel
was instructed by the Court that such a request is required to be made
in writing.    Angela Perry's counsel subsequently filed a written
motion seeking leave to join in Mr. Perry's motion. ECF No. 91.
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 Community       Personal      Care,       Inc.       ("CPC"),        a    home       health       care

 business, between January of 2009 and January of 2013.                                  Id.        The

 superseding         indictment       charges         that   Defendants           conspired          to

 commit health care fraud,                committed health care fraud,                   and made

 false    statements        relating      to health care              matters,        among other

 things.        Id.       Although        the     majority       of       the   counts        in    the

 superseding          indictment          set      forth      particular               allegations

 outlining the charged offense conduct,                          Count Fourteen broadly

 alleges       that    Defendants            participated         in        falsification            or

 alternation of "office records" over a nearly four year period

 without       identifying        those      office    records        that were allegedly

 falsified.


                            B. Mr.    Perry's Asserted Facts

         On    November     29,      2012,      federal      agents        investigating            CPC

 executed a search warrant at CPC's office.                               During the search,

 Mr.   Perry was       informed by           federal     agents       that      the    search was

 part of a Medicaid fraud investigation.                              Bond Hearing Tr.              23,

 ECF No.       79.     Within several days                of such search,               Mr.    Perry

 retained the Williams Mullen law firm to provide legal advice.

 Broughton Aff.        % 3,       ECF No.       87.     Williams Mullen immediately

 began    an    internal      investigation           into    CPC's        records,       and,       as

 characterized         by    Mr.      Broughton         of    Williams            Mullen,          such

 investigation revealed documentary evidence that CPC employees,

 including but not           limited to CPC staffing coordinators Vernice
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 Spain and Sarina Freeman,                 were stealing from CPC and overbilling

 Medicaid.       IcL % 4.

         In   December       of    2012,        Perry's       counsel       contacted           federal

 agents and prosecuting attorneys to both share defense counsel's

 discovery of illegal actions undertaken by CPC employees and to

 request that the Government investigate such matters.                                     Id. HU 6-

 8.    Defense counsel specifically requested that                                the     Government

 perform      surveillance         of      an       upcoming    meeting         between         Vernice

 Spain and another CPC employee that purportedly had an illegal

 purpose.       Id. HH 7-8.           After Perry's counsel informed him that

 the   Government        declined        the     defense's      invitation         to     coordinate

 the   investigation          of     CPC    employees         and    further       chose        not    to

 perform surveillance of the reported illegal meeting,                                    "Mr. Perry

 sought advice        [of counsel]          as      to whether he could terminate the

 employment of        Vernice        Spain and Sarina Freeman."                         Id.    UU 8-9.

 After    consulting          with       counsel,       Perry/CPC          terminated          Vernice

 Spain    and    Sarina       Freeman          in    December       of    2012.          Id.     % 10.

 However,       Mr.   Broughton            advised      Mr.     Perry       not     to        take    any

 criminal       or    civil       action        against       either       of     the     terminated

 employees       until     it      was     clear       how     the       federal        government's

 investigation unfolded.                 Id. t H.

       Many months later, on October 16, 2013, Mr. Broughton met

with both the FBI agent and Assistant United States Attorney in

charge of       the    CPC    investigation/prosecution and again informed
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 them     that    Vernice          Spain      and        Sarina     Freeman,       and        others,     were

 responsible for false Medicaid billings and theft of both public

 and CPC funds.              Id. H 12.           However, the Government made clear to

 Mr.     Broughton           that        it     believed            that     Mr.        Perry       was     the

 "mastermind"         who had orchestrated                     the false Medicaid billings

 and that both Mr.             Perry and Angela Perry would likely be named

 as    co-defendants          in    a     criminal          case.      Id.        Less     than     a     month

 later,    on November             6,    2013,       a     criminal    indictment             was   returned

 by the grand jury against Mr. Perry, Angela Perry, and one other

 individual       who        was    charged          with      falsification             of    records       to

 cover-up        the     Medicaid               fraud        charged         in     the        superseding

 indictment.3          ECF No.       1.

        After      the       return        of        the     original        indictment,            Williams

 Mullen again reviewed CPC's records.                               Broughton Aff. 1 13.                   Such

 investigation           revealed,              as       characterized             by     the       defense,

 improper "bonus checks" issued in July of 2012 to Vernice Spain,

 Sarina     Freemen,         and Shavonne                Freeman,      that were              separate and

 apart from their authorized CPC payroll direct deposits.                                               Id. 1M

 13-14.          According          to     Mr.       Broughton,            unlike        the    previously

discovered Medicaid                 "kickback"             scheme      involving Vernice                  Spain

 and    another       employee,           the    unauthorized          bonus        checks       issued      in

July of 2012 "did not appear to be tied to any false billings to


3 The third named defendant, Allison Hunter-Evans, pled guilty on May
 14,    2014,    to    one    criminal          count       charging       her    with    "alteration        of
records,"       in violation of 18 U.S.C.                  § 1519.
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Medicaid,          only theft directly from CPC's account."                               Id.    H 14.

After discussing this matter with Mr. Perry,                                 "Williams Mullen,

as counsel for CPC and its owner,                           Mr.    Perry,    advised Mr.         Perry

 that    CPC       should    file       a    criminal       complaint       against      Ms.    Spain,

Sarina Freeman and Shavonne Freeman."                              Id. 1 15.        Mr. Broughton

advised Mr. Perry "that Shavonne Freeman should be named in the

 criminal          complaint"          because        she     "had    clearly          received     an

unauthorized 'bonus' check" in July of 2012.                                Id.        In discussing

 the proposed criminal complaint with Mr. Perry, a complaint that

 would        be     filed         with       local      non-federal          law        enforcement


 authorities,         Mr.    Broughton "did not advise Mr.                        Perry to       inform

 or   not     inform    the        [City      of   Norfolk]       detective       of    the     ongoing

 federal criminal case."                     Id. H 16.

         In    addition       to       the    affidavit      Mr.     Broughton         submitted     to

 this Court in opposition to the Government's pending motion, Mr.

 Perry submitted his own affidavit                          confirming each of            the above

 statements of fact.                Perry Aff.,          ECF No.     86.      Specifically,         Mr.

 Perry      states     that       he    fired       Vernice       Spain     and    Sarina       Freeman

 after consulting with counsel,                      that he did not take any civil or

 criminal action against these individuals between their December

 2012    termination          date          and    October    of     2013    based       on     defense


 counsel's         advice    to     wait and see how the               federal         investigation

 unfolded,         that Perry "did not authorize"                    the bonus checks issued

 in July of 2012,            and that the bonus checks "did not appear to be
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 linked       in    any     way    to    Medicaid"        but       instead          "appeared      to    be

 stolen directly from CPC's account."                                   Perry Aff.         ^% 8-10,      14.

 Mr.     Perry       further       states       in     his      sworn         affidavit       that       Mr.

 Broughton         communicated          with    both     Perry          and    James       Sears     ("Mr.

 Sears"),      CPC's former Chief Financial Officer ("CFO"),                                  about the

 bonus    checks          and    about    filing      a   criminal            complaint,       that      Mr.

 Sears    and       Perry       made     their       report        of    embezzlement          to     local

 authorities at            the direction of            Mr.    Broughton,             and that defense

 counsel       "did not advise            [Mr. Perry]          to       inform or not to            inform

 the magistrate or               [local] law enforcement of the ongoing federal

 criminal case."               Id. HH 18-22.

         Further      corroborating            Mr.    Perry's           version       of    events,      Mr.

 Sears    also submitted a               sworn affidavit                 to    the    Court   outlining

 his    communications with Perry's                     counsel and his                involvement in

 filing the criminal complaint in April of 2014.                                      Sears Aff.,        ECF

 No. 88.        Specifically,            Mr. Sears indicates that he provided CPC

 financial records to Perry's counsel at counsel's request,                                            that

 typically          CPC        "bonus"    checks        were        only       issued       around       the

 holidays,         that Perry's          counsel communicated with Mr.                        Sears via

 email    about      filing a          criminal       complaint with             local authorities

 based on the alleged embezzlement by former CPC employees,                                              and

 that    Mr.       Sears       ultimately made         such report              of    embezzlement        as

 CFO     of    CPC        on     April    1,     2014        "at        the    direction       of     Gray

 Broughton."          Id. flU 8-17.
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                         C.   Government's           Asserted Facts


        The Government has not advanced an affidavit offering any

 facts at this time,            but does cite to testimony provided at Mr.

 Perry's    bond   revocation          hearing       conducted       on   May   5,     2014,   by

 Magistrate Judge Lawrence R. Leonard.4                       Bond Hearing Tr., ECF No.

 79.    The Government also has proffered evidence that it intends

 to    introduce   at    trial        to   demonstrate        that    Mr.    Perry was         the

 "mastermind"       behind        the       Medicaid          fraud       charged      in      the

 superseding indictment and that he is accusing former employees

 Vernice Spain, Sarina Freeman,               and others,         of illegal conduct to

 deflect blame from himself.




 4 The Government        previously filed a motion                seeking to revoke            Mr.
 Perry's bond based on the allegation that Perry filed the criminal
 complaint with local authorities in an effort to intimidate Vernice
 Spain and Sarina Freeman because they are expected to testify against
 him at the upcoming federal criminal trial. Judge Leonard, applying a
 "probable cause"      standard,      concluded that there was probable cause to
 believe that Mr.       Perry engaged in witness intimidation.                   Bond Hearing
 Tr. 102, ECF No. 79.      Judge Leonard appears to have based such
 conclusion primarily on the following facts: (1) Perry had known about
 the alleged embezzlement since 2012 but had not reported it until
 April of 2014; (2) Perry had previously hired an investigator who
 repeatedly attempted to interview Vernice Spain and Sarina Freeman
 after they were terminated from CPC; (3) In April of 2014, Perry did
 not inform the local detective about the federal indictment pending
 against him; and (4) it appeared, based on the evidence before the
 Court, that Shavonne Freeman, who is the daughter of Sarina Freeman,
 was named in the criminal complaint in an effort to intimidate
 Shavonne   Freeman.      Id.    at    101-02.        Judge    Leonard,     however,    did    not
 revoke Mr. Perry's bond because, as demonstrated by "the role of
 [defense] counsel" in the filing of the criminal complaint, Mr. Perry
 did not appear to be a "loose cannon" that would continue to behave
 inappropriately.  Id. at 103-04.  Notably, Judge Leonard's ruling was
 made without the benefit of the sworn statements from Mr. Perry and
 Mr.   Broughton that are now before this Court.

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        As    will           be        discussed             in     greater        detail        below,        the

 Government        fails to advance any facts suggesting the existence

 of    any    inconsistencies                  between            defense     counsel's          version        of

 events leading up to the April 2014 complaint and Mr.                                                  Perry's

 own version of the same events.                                  Moreover, the Government openly

 acknowledges            that          it    does       not       dispute     the       accuracy        of     Mr.

 Broughton's            statements            in    his       affidavit,         and     does    not     accuse

 defense counsel of any misconduct.                                 However, it appears that the

 Government        seeks          to    question            defense    counsel         at    trial     for     two

 reasons:         (1)        the       Government             speculates         that       it   can     elicit

 inconsistencies between defense counsel's testimony and Perry's

 testimony; and (2)                    the Government seeks to demonstrate, through

 referencing trial evidence that will be before the jury at the

 time the Government questions defense counsel,                                             that Mr.      Perry

 did    not       admit        his          criminal          conduct       to     his      lawyers,          thus

 undercutting Perry's                   ability to rely on an                      "advice of counsel"

 defense at trial.


              II. Discussion - Motion for Bill of Particulars

                                                   A.       Standard


       As discussed on the record at the hearing on Perry's motion

 seeking      a    bill           of    particulars,               "the   purpose           of   a     bill    of

 particulars            is    to        enable          a    defendant        to    obtain        sufficient

 information on the nature of the charge against him so that he

 may prepare for trial, minimize the danger of surprise at trial,
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 and enable him to plead his acquittal or conviction in bar of

 another       prosecution            for    the    same      offense."              United    States       v.

 Schembari,          484    F.2d 931,          934-35       (4th Cir.       1973)       (citing United

 States v.         Dulin,       410 F.2d 363,          364    (4th Cir.          1969)).       However,      a

 bill    of        particulars         is    "not      to    be    used        to    provide       detailed

 disclosure          of    the       government's       evidence          in     advance      of    trial."

 United    States          v.    Automated         Medical        Labs.,        Inc.,   770     F.2d      399,

 405    (4th Cir.          1985)      (citing United States v. Anderson,                           481 F.2d

 685,    690       (4th Cir.         1973)).     A bill of particulars does not amend

 or     alter       the     indictment,          but        instead       "merely       amplifies          the

 indictment          by    providing           missing       or    additional           information         so

 that the defendant can effectively prepare for trial."                                              United

 States       v.     Fletcher,         74    F.3d      49,    53     (4th       Cir.    1996)        (citing

 United States v.               Howard,     590 F.2d 564,           567     (4th Cir.       1979)).         In

 considering whether to grant a defendant's motion seeking a bill

 of    particulars,             it    is    appropriate           for     the       district       court    to

 inquire into the information that has already been provided by

 the government             during discovery.                 United States v.                 Society of

 Independent          Gasoline         Marketers        of    America,           624    F.2d       461,    466

  (4th Cir.        1980).

         Although a motion seeking a bill of particulars should not

 be used to require the government to preview its case,                                            in cases

 involving          vaguely           asserted       charges         of     fraud,         perjury,         or

 alteration of records, a bill of particulars may be necessary in

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 order    to      provide       a    defendant       a    full       and    fair       opportunity             to

 prepare a defense.                  See United States v. Sampson,                       448     F. Supp.

 2d 692, 696        (E.D. Va.          2006)     ("In the case of fraud or perjury,

 it    is critical         that      the- government               identify in         the     indictment

 the    dates      of    the    fraudulent         conduct,          the     specific          fraudulent

 documents,        and    the       fraudulent     statements            within     the      documents."

  (citing United States v. Bortnovsky,                             820 F.2d 572,          574    (2d Cir.

 1987))),-        Bortnovsky,          820     F.2d        at        574     (holding           that       the

 defendants were           "hindered in preparing their defense"                                 in light

 of    "the district            court's      failure          to    compel       the    Government             to

 reveal      crucial       information,"             associated            with        fraud     charges,

 including        the     dates        of    several          staged       burglaries           and       "the

 identity of        three       fraudulent         documents").              A    defendant          is    not

 fairly apprised of the necessary information merely because the

 government        provided          "mountains      of    documents         to    defense           counsel

 who were left unguided as to which documents                                      would be proven

 falsified"        at    trial.        Bortnovsky,            820    F.2d at       575;      see      United

 States      v.    Modi,       197     F.    Supp.       2d       525,     530    (W.D.        Va.     2002)

  (recognizing,          "as argued by the defendants,                       that       the volume of

 discovery in a complex case may itself impede rather than assist

 the defense in its understanding of the government's case," but

 nevertheless           denying       a motion       for      a     bill   of     particulars             in    a

 criminal case involving a medical fraud conspiracy because the

 defendants        conceded          that    the     government            provided          "charts           or

                                                   11
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 summaries"          identifying       the    "patients           at   issue,        the    dates    of

 services,          the suspect treatments, and the amounts paid for those

 allegedly improper services").

                                            B. Analysis

         Here,       Defendant Perry seeks a bill of particulars only as

  to Count Fourteen of the superseding indictment,                                   which broadly

 alleges       that,       over a period of              almost    four years,         Defendants,

 and     other        CPC     employees        acting         under       the        direction       of

 Defendants,          "knowingly       altered,           falsified       and    made        a    false

 entry"    in CPC's          "office records             . . . including DMAS-90s"                 with

 the intent to obstruct and influence the proper administration

 of the federal Medicaid program.                          Super.      Indict.       Count 14, ECF

 No. 61.        It appears largely undisputed from the parties'                                  briefs

 and oral argument that, during discovery,                             the Government has in

 essence       "opened       its   files"      to        Defendants.         However,        it    also

 appears undisputed that the Government's "files" associated with

 this case include tens of thousands of documents.

         The    most       glaring    issue     with        the     manner      in     which      Count

 Fourteen is charged is the fact that it alleges                                     alteration of

 unidentified "office records" over a nearly four year period of

 time.         At    the    hearing    on     the    instant        motion,      the       Government

 explained to the            Court    that,    in an effort             to reduce          the number

 of relevant documents,               the Government specifically identified to

 Defendants 72 of the 504 patient files that were seized from CPC

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  as the files on which the Government will rely during its case

  in chief          at    trial.           Moreover,      the    Government        indicated on          the

  record       that,       with       respect       to   Count    Fourteen,          the    Government's

  evidence           will       not       rely      on    unidentified          types       of     "office

  records,"          but       will       instead    be       limited    to    the      "DMAS-90"       time

  sheets found within the 72 identified patient files.

             When    determining            whether       to    grant    a    criminal       defendant's

  motion for a bill of particulars,                              the government's disclosures

  during discovery are clearly relevant to the Court's exercise of

  its discretion to grant such a motion.                                Modi, 197 F. Supp. 2d at

  530.        Here,       the Government has both greatly reduced the number

  of   relevant patient files and has limited the relevant evidence

  to     a    single        type      of     allegedly         false    document:          DMAS-90      time

  sheets.            However,         notwithstanding the Government's good-faith

  actions to reduce the pool of relevant documents,                                        both parties

  represented at the hearing that there are likely "thousands" of

  DMAS-90 time sheets in the 72 patient files at issue,                                          as these

  time sheets were filled out for each patient,                                       sometimes on a

  weekly basis,                and    some    of    the patient         files      cover     the   entire

  period of almost four years set forth in Count Fourteen.

             Based on this Court's questioning of counsel at the hearing

  on   the     motion          for    a    bill    of    particulars,         it   is      clear   to   the

  Court       that       Mr.    Perry's      motion       has    merit.        The      Government      has

  acknowledged that the falsification/alteration charged in Count

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 Fourteen     took       different       forms,         including        adding       or     changing

 information        on     previously        created          DMAS-90      time       sheets,        or

 creating     an     entirely      new       falsified          timesheet        to        replace    a

 previously created DMAS-90.                 Such differing forms of alteration/

 falsification will undoubtedly make it difficult for the defense

 to predict,        in advance         of    trial,       which     of    many    thousands          of

 documents    the        Government      will      seek       to   prove    were       altered       or

 falsified.        Adding to such difficulty,                   it appears that the DMAS-

 90s included in any given patient file may have been prepared by

 several     different          individuals            that     provided      care          to    such

 patient,    and differing preparers may have differing methods of

 completing     (or altering)          such forms.              Moreover,        the Government

 has acknowledged that even its witnesses will have difficulty

 identifying which DMAS-90s were falsified because many of such

 witnesses    participated          in      the    alteration        or     falsification            of

 "hundreds    and hundreds"            of DMAS-90s covering                  a    several year

 period.

       Accordingly,         without      further particularization,                    Defendants

 will be left to sift through thousands of DMAS-90s contained in

 72   patient       files       covering      a        nearly      four-year       period        with

 limited,    if any,       ability to reasonably identify which documents

 the Government will attempt to prove false at trial.                                       As noted

 at   the   hearing,       to    the     extent        the    defense      seeks       to     call   a

 handwriting expert,            or seeks to cross check the relevant                             time-

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 sheets     against        other         CPC    records      in    an    effort       to     defend    the

 authenticity/accuracy                   of      such     documents,           the     thousands        of

 potentially falsified documents create a herculean task for the

 defense.          The     instant             scenario    therefore           appears       even     more

 likely      to     result          in     "unfair        surprise"        at    trial        than     the

 scenarios         faced       by        the    courts      in     Sampson       and       Bortnovsky.

 Moreover,        the    Government's               admission       that       its     own    witnesses

 might      have         difficulty              identifying            the      falsified/altered

 documents underscores the need for further particularization to

 the     extent     that    the      Government           seeks     to    introduce          altered    or

 falsified documents at trial to prove the Defendants'                                         guilt as

 to Count Fourteen.                 Accordingly, after considering the nature of

 the   charge      set     forth         in Count       Fourteen,        and    the    facts    of    this

 case,     including        disclosures             made during          discovery,          the Court

 finds that the Government must provide more particularity than

 is currently provided through the identification of                                       "thousands"

 of    DMAS-90s         that    may,           or   may     not,        have    been       altered      or

 falsified.5



 5 Based on the Government's statements at                              the motions hearing,            it
 appears  that,  at   trial,  "the most                            crucial  testimony in  the
 [G]overnment's conspiracy case" may be                           the testimony of former CPC
 employees        indicating        that        Defendants        "directed      the       [large-scale]
 falsification of files leading up to the      [Medicaid] audits," as
 contrasted with testimony demonstrating the "the truth or falsity of
 any particular files." United States v. Younes, 194 F. App'x 302, 310
 (6th Cir. 2006) (emphasis added).    To the extent that, beyond the
 conspiracy count, the superseding indictment separately charges the
 falsification or alteration of DMAS-90s in Count Fourteen, for all the
 reasons discussed above, this Court will require the Government to

                                                     15
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         The Defendant's       joint motion for a bill of                    particulars     is

 therefore GRANTED,         and the Government is ORDERED to identify to

 counsel     for   both     remaining       Defendants            the     falsified/forged/

 altered DMAS-90s       that    the Government will,                 or may,       rely on at

 trial as evidence of Defendants'                     guilt as to Count Fourteen of

 the superseding indictment.               The Government should identify such

 DMAS-90s to counsel for both remaining defendants,                           no later than

 July 23,    2014.     The timing of such disclosure should both allow

 the   Government     sufficient         time    to    review      the    relevant   DMAS-90s

 with its witnesses,         and allow sufficient               time      for Defendants     to

 hire any responsive experts (if necessary).                         To the extent that,

 after     such    date,     the     Government           identifies         one     or    more

 additional altered or falsified DMAS-90s which it will, or may,

 rely on at trial with respect to Count Fourteen,                            the Government

 should immediately notify defense counsel.

                   III. Discussion - Motion to Disqualify

       The Government has filed a motion seeking to disqualify Mr.

 Perry's    lawyers,       including      Mr.        Broughton,     Mr.     Davis,   and    the

 entire    Williams    Mullen      law    firm.        ECF   No.    80.      The   Government


 identify the altered/forged/falsified documents on which it will rely
 at trial. However, to the extent the Government's evidence in support
 of its conspiracy count intends to rely on broader testimony asserting
 the mass falsification of CPC patient files, without necessarily
 identifying the truth or falsity of any particular file, the defense
 has suggested that it expects to challenge the admissibility of such
 evidence.  This opinion in no way addresses such separate issue, and
 if the admissibility of the Government's evidence is to be challenged,
 defense counsel is expected to file a motion in limine on this issue
 well in advance of trial so that it can be completely briefed.

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  asserts       that     Mr.        Perry's      April       2014   complaint          to     local

  authorities about embezzlement allegedly committed by former CPC

  employees      was   actually        an    effort     to   tamper with        witnesses       who

  will be called to testify against Perry at trial.                              Although Mr.

  Perry has not been formally charged with witness tampering,                                   the

  Government contends that Perry's 2014 conduct is evidence of his

  "guilty knowledge"           as to the fraud crimes                  that are charged in

  the superseding indictment.                    The Government further argues that,

  because defense counsel provided Mr.                       Perry advice regarding the

  2014     complaint,       counsel         "injected"       themselves     into       the     fact

 pattern of this case, are necessary and likely adverse witnesses

  to Mr.    Perry,     and that based on such facts,                   the entire Williams

 Mullen law firm should be disqualified.

         Mr.     Perry      counters        by     arguing      that     defense       counsel's

  testimony is not necessary at trial, that such testimony is not

  in dispute,        and that it is subject to stipulation.                            Moreover,

 defense counsel represents                   that the defense           strategy does not

 require defense counsel to testify on behalf of Mr.                                   Perry at

  trial,    and that even if defense counsel were called as a witness

 by the Government, any such testimony would only corroborate Mr.

 Perry,        and   thus      it    will     not      be    "adverse"     to    Mr.        Perry's

 interests.




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                                       A.    Ethical       Standard


         The       standard          governing        disqualification                    based      on     the

 potential         that       an attorney will             be        called on to           testify as        a

 fact witness at trial is grounded in counsel's ethical duties to

 the     client,     as       well    as     counsel's          ethical       duties       to     the     legal

 profession         as    a    whole.        The    Local        Rules       of     the    United       States

 District Court for the Eastern District of Virginia state that

  "the    ethical         standards          relating           to    the     practice          of   law     in

 criminal cases in this Court shall be Section II of Part Six of

 the Rules of the Virginia Supreme Court as it may be amended or

 superseded from time to time."                        E.D.          Va.    Loc.    Crim.    R. 57.4(1).

 Such     cross-reference               to    the     Virginia             Rules     of     Professional

 Conduct results in Rule 3.7,                       titled "Lawyer as Witness," being

 the guiding ethical standard for the analysis of the pending

 motion       to   disqualify          counsel.            Va.        Rule    Prof'l        Conduct        3.7.

 Such     Rule      is    commonly           referred       to        as     the    "witness-advocate

 rule."


                              i. Analysis of Virginia Rule 3.7

         In    order      to     properly          interpret           the     current          version      of

 Virginia's         witness-advocate                rule,        Rule        3.7,    one     must         first

 examine both the predecessor Virginia Model Code of Professional

 Responsibility,               and    Rule      3.7        of        the     ABA     Model        Rules      of

 Professional Conduct on which the current Virginia Rule 3.7 was




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 based.6     Prior to Virginia's adoption of Rule 3.7,                                which took

 effect    on     January         1,    2000,     a      Virginia     lawyer's       conduct    was

 governed    by     the      Virginia        Code     of       Professional    Responsibility.

 Relevant    here       are       former     Disciplinary           Rules    5-101    and   5-102,

 which provide as follows:

       DR 5-101.        Refusing Employment When the Interests of the
       Lawyer       May           Impair        His       Independent         Professional
       Judgment.        -

       (A) A lawyer shall not accept employment if the
       exercise of his professional judgment on behalf of his
       client may be affected by his own financial, business,
       property,   or personal   interests,    except with the
       consent   of  his  client   after    full   and adequate
       disclosure under the circumstances.

       (B)   A   lawyer  shall  not   accept   employment  in
       contemplated or pending litigation if he knows or it
       is obvious that he or a lawyer in his firm ought to be
       called as a witness, except that he may undertake the
       employment and he or a lawyer in his firm may testify:

            (1) If the testimony will relate solely to an
            uncontested matter or to a matter of formality and
            there       is    no       reason    to      believe      that    substantial
            evidence         will       be   offered           in   opposition       to   the
            testimony.

            (2)    If       the    testimony          will      relate   solely      to   the
            nature and value of legal services rendered in the
            case by the lawyer or his firm to the client.

            (3) As to any matter,                         if    refusal would work a
            substantial hardship on                      the    client because of the


 6 Although each State Bar adopts its own ethical rules, many states,
 including Virginia, previously borrowed heavily from the former ABA
 Model Code of Professional Responsibility (listed in the form of
 Disciplinary Rules ("DR")), and the more recent ABA Model Rules of
 Professional Conduct.

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               distinctive value of the lawyer                        or    his       firm       as
               counsel in the particular case.

         DR    5-102.         Withdrawal         as     Counsel      When       the     Lawyer
         Becomes a Witness.           -


         (A) If, after undertaking employment in contemplated or
         pending litigation, a lawyer learns or it is obvious
         that he or a lawyer in his firm ought to be called as a
         witness on behalf of his client,                      he shall withdraw from
         the conduct of the trial and his firm, if any, shall
         not continue representation in the trial, except that
         he may continue the representation and he or a lawyer
         in his firm may testify in the circumstances enumerated
         in DR 5-101(B)(l)          through (3).

         (B) If, after undertaking employment in contemplated or
         pending litigation, a lawyer learns or it is obvious
         that he or a lawyer in his firm may be called as a
         witness other than on behalf of his client, he may
         continue the representation until it is apparent that
         his testimony is or may be prejudicial to his client.

 Rules    of       the    Supreme   Ct.     of    Va.    Pt.    6,    §    II    Canon       5    (1999)

  (emphasis added).            Virginia subsequently overhauled its Code of

 Professional            Responsibility,         and adopted a new version of                           the

 witness       advocate       rule,       drawing       heavily      from       the    ABA's          Model

 Rules    of       Professional       Conduct.           The    relevant         ABA    Model          Rule

 states as      follows:


         Rule 3.7 Lawyer As Witness

         (a)   A    lawyer shall not act as               advocate at a               trial in
         which the lawyer is likely to be a necessary witness
         unless:
              (1) the testimony relates to an uncontested issue;
              (2) the testimony relates to the nature and value of
              legal services rendered in the case; or
              (3) disqualification of the lawyer would work
              substantial hardship on the client.


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        (b) A lawyer may act as advocate in a trial in which
        another lawyer in the lawyer's firm is likely to be
        called as a witness unless precluded from doing so by
        Rule       1.7 or Rule        1.9.


 ABA Model         Rule    of    Professional           Conduct    3.7.        Largely adopting

 the ABA Model            Rule,    Virginia Rule           3.7, as currently in force,

 provides as follows:

        Rule 3.7. Lawyer As Witness

        (a)    A    lawyer        shall      not   act     as     an    advocate     in   an
        adversarial proceeding in which the lawyer is likely
        to be a necessary witness except where:
          (1) the testimony relates to an uncontested issue;
          (2) the testimony relates to the nature and value of
          legal services rendered in the case; or
             (3) disqualification of the lawyer would work
          substantial hardship on the client.

        (b)    If, after undertaking employment in contemplated
        or    pending          litigation,         a    lawyer     learns       or   it   is
        obvious       that      the   lawyer may          be    called as       a witness
        other than on behalf of the client, the lawyer may
        continue the representation until it is apparent that
        the testimony is or may be prejudicial to the client.

        (c)    A    lawyer may act            as advocate          in an       adversarial
       proceeding in which another lawyer in the lawyer's
       firm is likely to be called as witness                                        unless
       precluded from doing so by Rule 1.7 or 1.9.

 Va.   Rule Prof'l Conduct 3.7.


        Critical to the proper interpretation of Virginia Rule 3.7

 is the fact that, unlike many jurisdictions, Virginia did not
 fully transition from the witness advocate rule as set forth in

 the prior ABA Model Code of Professional Responsibility to the
 new   Rule     3.7       as    modeled      by    the ABA's           Rules   of    Professional


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 Conduct.        Rather,   Virginia    retained   a   vestige   of   the    former

 disciplinary rules when it retained,          in large part, DR 5-102(B).

 Comparing the text of Virginia Rule 3.7 with the ABA Model Rule,

 subpart (a)      of the Virginia Rule is substantially similar to ABA

 Model    Rule   3.7 subpart    (a),   although the Virginia Rule applies

 not just to trials but also to adversarial proceedings.                   Subpart

  (b) of the Virginia Rule is not found in the ABA Model Rule,                 but

 is instead a modified version of DR 5-102(B).                  Subpart (c)     of

 the Virginia Rule is substantially similar to subpart (b) of the

 ABA Model Rule,       again expanding its application from trials to

 include adversarial proceedings.7

         In order to determine the effect of Virginia's retention of

 a vestige of the former Code of Professional Responsibility, it

 is helpful to begin with an analysis of the prior Code.                    DR 5-

 101(B) generally prevented a lawyer from accepting employment in

 contemplated or pending litigation when that lawyer "ought to be

 called" as a witness.         Importantly,   the text of DR 5-101(B) does

 not differentiate as to which party will later have the need to

 call a lawyer to testify as a witness,               but instead appears to

 7 Although not directly relevant to the instant analysis, Virginia's
 adoption of the language set forth in ABA Model Rule 3.7(b),
 redesignated by Virginia as 3.7(c), is a substantial change from the
 prior ethical rules that generally barred an entire law firm from
 continuing representation if an individual lawyer at such firm was
 needed to testify at trial.      Both the ABA Model Rule and Virginia Rule
 3.7 expressly allow a law firm to continue its representation when an
 individual lawyer from such firm will testify at trial, as long as
 there is not a conflict of interest between the testifying lawyer and
 the client.     Va. Rules Prof'l Conduct 3.7(c),     1.7, 1.9, 1.10.

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 apply to all pre-engagement scenarios when a lawyer recognizes a

 need     to      testify        for    any    party     in        contemplated         or        pending

 litigation.

        In     contrast      to    DR    5-101(B),      DR    5-102       governed a           lawyer's

 discovery of an apparent need to testify when such discovery was

 made     after        a   lawyer       accepted       employment.               Also        critically

 different         from     DR     5-101{B),       DR    5-102        did    not        provide          one

 collective rule that was applicable irrespective of which party

 would likely call the lawyer as a witness,                               but instead provided

 one    rule      applicable       only to      situations          where        the   lawyer would

 testify       "on     behalf     of    his   client,"        DR    5-102(A),          and    a    second

 rule applicable where                 the    lawyer would be             called as          a witness

 "other than on behalf of his client," DR 5-102(B).

        When      the      ABA    adopted     Model     Rule       3.7,     it    replaced          DR    5-

 101(B)      (pre-engagement rule)              and DR 5-102          (post-engagement rule

 that    delineated different                 guidelines       depending          on    which party

 would be calling the                  lawyer as a witness)               with a single rule.

 Such single Model Rule is not only applicable to all engagements

 irrespective of the timing of the discovery of the apparent need

 to testify, but it is also applicable to all situations where a

 lawyer      is    a    necessary       witness    regardless          of    which       party       will

 call the lawyer as a witness.

        As     indicated above,              although Virginia             adopted,          with    only

 slight modification,              the ABA's new facially all inclusive single

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 rule as set forth in ABA Model Rule 3.7(a),                              Virginia retained a

 vestige of          its    old rule,          which applies           only when two          criteria

 are satisfied:             (1)       a lawyer's discovery of the need to testify

 occurs       after        the     lawyer          undertakes    employment;          and     (2)    the

 lawyer will          (or may)           be    called on        to    testify       "other    than on

 behalf       of    the    client."           Va.    Rule     Prof'l    Conduct      3.7(b).        When

 interpreting             the     scope       of    current     Virginia       Rules    3.7(a)       and

 3.7(b), it appears that, when read together, Rule 3.7(a) applies

 in all situations except when the dual requirements of Va. Rule

 3.7(b)       are     satisfied.              In     the     latter    scenario,       Rule     3.7(b)

 controls.


        Supporting              the    above        textual    analysis,       the     "Commentary"

 that     follows          Virginia       Rule        3.7,    which     was    authored        by    the

 Virginia Standing Committee on Legal Ethics,                                 states as follows:

 "[T]he       Committee           incorporated the language of DR 5-102(B)                           as

 paragraph (b)             to give the Rule additional flexibility."                                Va.

 Rule Prof'l Conduct 3.7,                     Committee Commentary.              Such statement,

 albeit brief,             clearly       establishes          both    that:    (1)   the     retention

 of a vestige of Virginia's former ethical rules was intentional;

 and    (2)    that       the     goal    for such retention was               to    create a rule

 that is more flexible than the ABA Model Rule.                                        Although the

 Committee comment does not provide a detailed explanation as to

 the justifications for retaining language from DR 5-102(B), the

 retention of such language appears to be supported by the well-

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 documented concern that a motion to disqualify opposing counsel

 is   subject    to    abuse,   as    it     can   be    used       solely    as     a    tactical

 weapon.    See Adelman v.           Kernbach,      43   Va.    Cir.    544,       54 9   (Norfolk

 1997)   (indicating that the prejudice requirement included in DR

 5-102(B) "guards against parties filing motions merely to obtain

 a    tactical   advantage")         (citations         omitted);      Personalized          Mass

 Media Corp.      v.   Weather Channel, Inc.,              899 F.      Supp. 239,           242-43

  (E.D. Va. 1995)       (indicating that "[m]otions for disqualification

 under DR 5-102 (B)        . . . are subject to abuse,"                  that there is a

 "real risk      that disqualification              will       be    sought    for        tactical

 advantage only and not because of                  the ethical considerations on

 which the witness-advocate rule is based," and disqualification

 under DR       5-102(B)    therefore         requires,        among    other         things,    a

 showing that counsel's testimony "is or may be prejudicial to

 the client whose lawyer is to be called as a witness by the

 adverse    party");       Richard      E.     Flamm,      Lawyer       Disqualification:

 Disqualification of Attorneys and Law Firms 233-34 (2d ed. 2014)

 ("[S]everal courts have made it clear that the advocate-witness

 rule was not designed to permit a party to call an opposing

 attorney as a witness for the purpose of disqualifying him, that

 they will not tolerate attempts                   to invoke the rule for such a

 purpose;   and that,      when a lawyer is to be called other than on

 behalf of his own client, the court must take pains to ascertain

 whether the challenged lawyer's testimony is truly necessary, or

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 merely      a    fabrication         of      [the]    client's       adversary.");          see    also

 Va.    Rule       Prof'l        Conduct       1.7,        Comment     [9]     (indicating          that

 objections         raised       by      opposing      parties        regarding       conflicts          of

 interest "should be viewed with caution" as they are subject to

 misuse).

        In       addition      to     the     above,       although        there    appears     to      be

 limited         case    law     from      state      or    federal        courts    analyzing          the

 interplay between Virginia Rule 3.7(a) and 3.7(b), one appellate

 decision        from     Virginia         arguably        recognizes        that    Virginia       Rule

 3.7(b) is an alternative to the otherwise broad applicability of

 Virginia Rule 3.7(a), stating as follows:

        Virginia          Rule      of     Professional          Conduct      3.7    provides
        that      "a     lawyer       should not           act   as   an    advocate    in an
        adversarial proceeding in which the lawyer is likely
        to be a necessary witness."                         Teleguz v. Commonwealth,
        273 Va. 458, 490 (2007).                           This rule also provides,
        however, that "[i]f, after undertaking employment in
        contemplated or pending litigation, a lawyer learns or
        it is obvious that the lawyer may be called as a
        witness other than on behalf of the client, the lawyer
        may continue the representation until it is apparent
        that the testimony is or may be prejudicial to the
        client."          Va. R. of Prof'l Conduct 3.7(b).

 Campbell v.            Commonwealth,         No.     269-12-1,       2012 WL 6571281,             at    *2

 (Va.   App.       Dec.     18,       2012)     (emphasis         added).          Lending    further

 support for this Court's textual analysis of Virginia Rule 3.7,

 one commentator examining the state to state differences in Rule

 3.7 has noted as follows:                     "Virginia incorporates language from

 DR 5-102(B) of the ABA Model Code of Professional Responsibility


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 to deal with situations in which a lawyer learns that he or she

 may be called as a witness                       'other than on behalf of                     the client'

 after    accepting            the     representation."                  Stephen Gillers             et     al.,

 Regulation of            Lawyers:       Statutes            and Standards            350    (Concise        ed.

 2014)    (emphasis added).

         For    the       reasons      discussed          above,         Virginia       Rule     3.7,       when

 read     in        its    entirety,             appears          to    be     best     interpreted           as

 providing one ethical rule that is generally applicable in most

 cases where a lawyer learns that his testimony is "likely to be

 necessary"          at    a    trial       or     adversarial               proceeding.         Va.        Rule

 Prof'l    Conduct          3.7(a).           However,            in   the    defined       circumstances

 where     a    lawyer         discovers,             during       representation             that     he     is

 likely        to    be    called        as       a     witness         by     the     opposition,           the

 alternative rule               set forth in 3.7(b)                    applies.         Id. at 3.7(b).

 Here,    as the Government's motion implicates both whether defense

 counsel       are    "necessary"           witnesses             for the      defense,       and whether

 defense       counsel         will    be     called         at    trial      as     witnesses       for     the

 Government,         this Court will separately analyze Rules 3.7(a) and

 3.7(b).             Before          doing        so,     the          Court       reviews       both        the

 justifications                for      the        witness             advocate        rule      and         the

 constitutional                right        to        counsel          of      choice       in    criminal

 proceedings.




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                    ii.    Justification for Witness Advocate Rule


         Notwithstanding               the      significant         revisions         of     Virginia's

 ethical       rules       taking       effect      in      2000,   cases       decided       prior    to

 Virginia's adoption of Rule 3.7 remain instructive, particularly

 when considering the                   reasons underpinning              the     witness advocate

 rule.         In Personalized Mass                 Media,       a case     decided by          another

 judge    of     this      Court       under     the       predecessor      ethical         rules,    the

 Court explained the witness advocate rule as follows:

         The    rule       derives       from    the       fundamental      fact      that     the
         roles of advocate and witness are inconsistent, it
         being the function of the advocate to argue the cause
         of    another      and       the    role    of     a   witness    to     state      facts
         objectively.  In  recognition  of  this   fundamental
         difference in the roles of witness and advocate, the
         rule serves   as a "prophylactic rule   designed to
         protect          the     interests         of     the    client,       the        adverse
         party,      and        the    institutional            integrity of       the       legal
         system as a whole."

 Personalized Mass Media,                    899 F.       Supp. at 242       (quoting Estate of

 Andrews       v.    United           States,     804      F.    Supp.     820,    823       (E.D.    Va.

 1992)).        Similarly, the commentary to Virginia Rule 3.7 provides

 the following explanation:

         Combining          the       roles  of           advocate   and witness   can
         prejudice          the       opposing           party   and   can involve   a
         conflict of interest between the lawyer and client.
         The opposing party has proper objection where the
         combination of roles may prejudice that party's rights
         in the litigation.   A witness is required to testify
         on the basis of personal knowledge,                             while an advocate
         is expected to explain and comment on evidence given
         by others.  It may not be clear whether a statement by
         an advocate-witness should be taken as proof or as an
         analysis of the proof....        Whether the opposing

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        party is likely to suffer prejudice depends on the
        nature of the case, the importance and probable tenor
        of the lawyer's testimony, and the probability that
        the     lawyer's       testimony                  will    conflict        with       that        of
        other witnesses.               .    .   .

 Va.    Rule    of    Prof'l      Conduct            3.7,        Comments       [1],       [2],       [4].     See

 Flamm,    supra,       224-31             (discussing "a number                  of very              different

 reasons" offered for the witness advocate rule by various courts

 over     the    years,       labeling              as     "[p]erhaps           the    most           compelling

 reason" the possibility that the factfinder will confuse what an

 attorney states            "in her witness capacity"                        with what she states

 "in her role as advocate,"                          and further noting that some early

 rationales          for     the           witness          advocate        rule,          including           the

 "perceived          need    to    preserve                the     integrity          of     the        judicial

 process        by   avoiding          even          the       appearance"        that        counsel          may

 distort       the    truth       to       benefit          his     or    her     client,             have    more

 recently been criticized as insufficient to warrant "the drastic

 remedy of disqualifying counsel").                               Because the witness-advocate

 rule protects not only the interests of the client,                                          but also the

 adverse       party    and       the       legal          system    as     a    whole,           a    party    is

 generally       prohibited         from            "waiving"       its     application.                 Premium

 Products,       Inc. v. Pro Performance Sports, LLC,                                  --F. Supp. 2d--,

 2014 WL 644398, at *5              (E.D.           Va.    Feb.    19,   2014) .

        Having outlined some of the reasons that courts generally

 disfavor permitting              counsel            to     perform dual          roles       in the          same

 adversarial proceeding,                    this Court must separately consider the

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 contours of a litigant's right to counsel of his or her choice,

 because "[e]ven if there is risk of                                  . . . prejudice"                 resulting

 from     a     court        allowing     a    lawyer           to    act     in     a    dual        role,     "in

 determining            whether      the       lawyer           should        be     disqualified,              due

 regard must be given to the effect of                                     disqualification on the

 lawyer's client."                 Va. Rule of Prof'l Conduct 3.7, Comments [1],

  [2] ,    [4] .        As     discussed       below,           the    interests           at    stake        in    a

 criminal        case         unquestionably         have        a     constitutional                 dimension,

 and      therefore,           a   motion      filed by              the    government            seeking to

 disqualify a criminal defendant's                               chosen retained attorney is

 not to be taken lightly.

                   B. Constitutional Right to Counsel of Choice

                         i. Right Rooted in the Sixth Amendment

          The      Sixth       Amendment        to        the        United        States       Constitution

 provides that "[i]n all criminal prosecutions,                                      the accused shall

 enjoy the right ... to have the Assistance of Counsel for his

 defence."             U.S.    Const. Amend VI.                  As the Supreme Court of the

 United States                ("Supreme       Court")          has     long-recognized,                 when an

 individual            is     charged     with       a      criminal          offense           he     must        be

 afforded          a    "fair      opportunity            to     secure        counsel           of     his    own

 choice."          Powell v. State of Alabama,                          287    U.S.        45,    53     (1932).

 This is so because "the right to select and be represented by

 one's        preferred            attorney          is        comprehended               by      the         Sixth

 Amendment."             Wheat v.       United States,                486 U.S.           153,    159     (1988).

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 However,      because the "essential aim of the [Sixth] Amendment is

 to guarantee an effective advocate for each criminal defendant

 rather     than      to    ensure        that       a       defendant        will       inexorably       be

 represented by the lawyer whom he prefers," the right to counsel

 of    one's    own    choosing          is    "circumscribed                in    several       important

 respects."          Id.      These      include:            (1)     a chosen attorney must be

 licensed       to     practice;             (2)        a     defendant           cannot        insist    on

 representation "by an attorney he cannot afford or who for other

 reasons       declines          to     represent             the     defendant";           and     (3)    a

 defendant      cannot        insist         on    an        attorney      who      has     an    "ongoing

 relationship with an opposing party," to include the government,

 nor may he          insist      on a     lawyer who has                ethical         obligations       to

 other defendants charged in the same conspiracy,                                       because even if

 all    such     defendants            seek        to        waive     any        ethical       conflicts,

  "[f]ederal courts have an independent interest in ensuring that

 criminal      trials       are       conducted         within       the     ethical       standards      of

 the profession and that legal proceedings appear fair to all who

 observe them."            Id.    at   159-60.


        Although a criminal defendant's right to counsel of choice

 is not unlimited,               the Supreme Court has recently clarified the

 constitutional            underpinnings                of      such       right        and      expressly

 recognized      the       severe       consequences                flowing       from     the    improper

 deprivation of that right.                        In United States v.                  Gonzalez-Lopez,

 548   U.S.     140    (2006),         the     Court         reiterated           the    fact    that     "an


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 element" of the constitutional right to counsel is "the right of

 a defendant who does not require appointed counsel to choose who

 will    represent         him."      Id.    at     144       (citing      Wheat,    486    U.S.     at

 159).        In      explaining       the     breadth          of     such   right,        and     the

 consequences         for its      violation,           the    Court    explained that while

  the   Due    Process       clause    of    the        Constitution        guarantees       a     fair

  trial, and the provisions in the Sixth Amendment                                  (including the

 right to effective counsel)                 help define the basic elements of a

 fair trial,         "[t]he right to select counsel of one's choice . . .

 has never been            derived     from       the Sixth           Amendment's      purpose       of

 ensuring a fair trial."                Id. at 146-47.                  Rather,      the right to

 counsel of choice "has been regarded as the root meaning of the

 constitutional guarantee,"                  and thus,          if such right is wrongly

 denied,      "it     is    unnecessary        to       conduct       an   ineffectiveness          or

 prejudice      inquiry       to    establish           a     Sixth    Amendment      violation."

 Id. at 147-48 (citing Wheat 486 U.S. at 149; Andersen v. Treat,

 172 U.S.      24 (1898)); see United States v. Basham, 561 F.3d 302,

 324-25       (4th    Cir.     2009)        (clarifying          that      while     an     indigent

 criminal      defendant       only has the constitutional                          right    to the

 effective assistance of counsel,                       a defendant with means to hire

 an attorney has the additional constitutional right to "counsel

 of [his] own choosing").               Stated differently, deprivation of the

 right to counsel of choice for a defendant with means to hire an

 attorney       "is     'complete'          when        the     defendant      is     erroneously

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 prevented       from              being      represented               by      the        lawyer      he     wants,

 regardless          of        the    quality          of    the     representation               he   received."

 Gonzalez-Lopez,                   54 8     U.S.       at      148.             Because        the         erroneous

 deprivation          of        counsel       of       choice       "pervades          the    entire         trial,"

 and     the     consequences                    are        "'necessarily              unquantifiable               and

 indeterminate,'"                    such     deprivation                 is    a      "structural            error"

 warranting          a     new           trial.          Id.       at     150       (quoting        Sullivan         v.

 Louisiana,          508        U.S.        275,       282        (1993));       see       United          States    v.

 Davila,       133        S.       Ct.     2139,       2149        (2013)       (discussing            the     "'very

 limited class of                     [structural]             errors'          that       trigger automatic

 reversal       because              they     undermine             the        fairness       of       a    criminal

 proceeding          as        a     whole,"           which        include         improper           "denial       of

 counsel of          choice"              (quoting United States                      v.    Marcus,         560   U.S.

 258,    263   (2010))).

                                          ii. Balancing of Rights

         Notwithstanding                   the     fact        that       the       right     to       counsel       of

 choice is rooted in the Sixth Amendment,                                       a trial court maintains

 "'wide    latitude                in balancing the right                        to counsel of choice

 against the needs of fairness,                                and against the demands of its

 calendar.'"             Hyatt v. Branker, 569 F.3d 162, 172 (4th Cir. 2009)

 (quoting Gonzalez-Lopez,                          548       U.S.       at 152) .            Accordingly,           as

 explained by the United States Court of Appeals for the Fourth

 Circuit       ("Fourth Circuit"),                       while there is "'a presumption in

 favor    of    [a defendant's]                     counsel          of      choice,'"        a     conflict        of

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 interest       remains       an    adequate             basis        on    which          to    disqualify          a

 defendant's          chosen        attorney             because           the         judiciary         has        an

 "'independent          interest          in       ensuring           that       criminal            trials      are

 conducted       within       the       ethical          standards          of     the       profession          and

 that    legal       proceedings         appear          fair        to    all    who       observe         them.'"

 Basham,       561 F.3d at 323           (quoting Wheat,                  486 U.S. at 160).

         The    decision      to     disqualify a               criminal           defendant's           counsel

 of choice is "a serious matter and must be decided on a case-by-

 case basis."           United States v. Franklin,                               177    F. Supp.         2d 459,

 464     (E.D.       Va.      2001)           (citing          Tessier           v.        Plastic       Surgery

 Specialists,         Inc.,    731       F.    Supp.          724,    729    (E.D. Va.               1990));     see

 United    States       v.    Collins,             920    F.2d       619,        625       (10th     Cir.      1990)

 ("'Attorneys          are     not       fungible,-'             often           'the       most        important

 decision       a     defendant          makes           in    shaping           his       defense        is     his

 selection of an attorney.'"                       (quoting United States v. Laura,                              607

 F.2d 52, 56          (3d Cir.       1979))).             Moreover,          even in a civil case,

 where     Sixth       Amendment          protections                are     not        implicated,             "the

 disqualification of a party's chosen counsel is a serious matter

 which     cannot       be    based           on     imagined             scenarios             of    conflict."

 Tessier,       731 F. Supp.            at 729       (citing Richmond Hilton Associates

 v.    City     of    Richmond,         690        F.2d       1086,        1089        (4th      Cir.     1982)).

 Rather,       there    must       be    an        "actual       conflict             of    interest"          or    a

 "likely"       conflict.          Richmond Hilton,                  690 F.2d at                1089.    Because

 a motion seeking to disqualify counsel                                     can be used               improperly

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 "for purely strategic purposes," the moving party "bears a 'high

 standard     of proof.'"                 Tessier,             731     F.    Supp.           at     729    (quoting

 Government of        India v.            Cook Industries                   Inc.,       569       F.2d 737,        739

 (2d Cir. 1978)).              Accordingly, when faced with a motion seeking

 disqualification of a retained attorney,                                      a district court must

 balance     the      interests               of      the           public,         and        of     the        legal

 profession,       against:             (1)    in     a        criminal       case,           the    defendant's

 Sixth Amendment          right          to    counsel of             choice;           or     (2)   in a civil

 case,     "'the    fundamental                principle             that      a    party           ought    to     be

 represented        by     its          counsel           of        choice     if        that        is     at     all

 possible.'"             Ford          Motor        Co.        v.     National           Indem.           Co.,     No.

 3:12cv839,        2013    WL          4498698,       at        *4     (E.D.       Va.        Aug.    21,        2013)

  (quoting Personalized Mass Media, 899 F. Supp. at 242).

         In Aetna Casualty & Surety Co.                               v.    United States,                570     F.2d

 1197    (4th Cir. 1978),               a civil case,                the Fourth Circuit's opinion

 highlights        the        importance              of        a     district               court        carefully

 evaluating,        on    a        case       by    case        basis,        the        likelihood          of     an

 ethical    conflict          arising          at    trial.            In     such        case,       the    Fourth

 Circuit    held     that          the        district          court        erred        by      disqualifying

 defense     counsel—the               Department              of    Justice            and       United     States

 Attorney-based           on       a    purported              conflict            of     interest          between

 defendants.        Id.       at    1200-01.              The Fourth Circuit explained that

 the    district     court's            hypothesis              about       possible           scenarios          that

 could    arise     wherein            one     defendant             could     exculpate              himself       by

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 inculpating his codefendants was "based solely upon conjecture,"

 and "ignored the representation of Government counsel,                                 which was

 accepted       by    the   court"    that     there    was    "no    dispute"      among       the

 defendants          with   respect    to     the    relevant    facts.           Id.    at    1201

  (emphasis       added).       In     reaching        such   conclusion,          the     Fourth

 Circuit stated that           it was        in "full accord"          with the following

 comments made by the Connecticut Bar Association as amici curiae

 in International Electronics Corp.                    v.   Flanzer,      527 F.2d 1288         (2d

 Cir.    1975):

         It    behooves      this    court,     therefore,       while     mindful        of
         the existing [Disciplinary Rules of the]     Code,  to
         examine afresh the problems sought to be met by that
         Code, to weigh for itself what those problems are, how
         real in the practical world they are in fact, and
         whether a mechanical and didactic application of the
         Code to all situations automatically might not be
         productive of more harm than good, by requiring the
         client and the judicial system to sacrifice more than
         the value of the presumed benefits.

 Aetna        Casualty,      570      F.2d     at     1202      (quoting      International

 Electronics,         527 F.2d at 1293).

         In addition to the above, it must be noted that in seeking

 to     define       the    legal     test     governing       motions       to     disqualify

 opposing       counsel,      several       prior     opinions       of   this     Court       have

 relied, at least in part, on the following statement made by the

 Fourth Circuit:


         In  determining  whether  to  disqualify  counsel  for
         conflict of interest, the trial court is not to weigh
         the circumstances "with hair-splitting nicety" but, in
         the proper exercise of its supervisory power over the

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         members of the bar and with a view of preventing "the
         appearance of   impropriety,"  it  is to resolve all
         doubts in favor of disqualification.

 United States v. Clarkson,                 567 F.2d 270,         273 n.3     (4th Cir.       1977)

  (quoting Gas-A-Tron of Arizona v. Union Oil                              Co. of California,

  534    F.2d    1322,      1324-25       (9th Cir.        1976)).          The    above     quoted

  statement      indicating         that    "all       doubts"    should      be    resolved       in

  favor of disqualification, however, is arguably dicta as it does

  not     appear       in    an     opinion       reviewing          the    propriety        of     a

 disqualification            order,        but    instead        appears      in     an     opinion

  affirming a district court's "judgment of contempt" flowing from

 a violation of a previously entered disqualification order.                                      Id.

 at 271-73.         Notably,        the Clarkson opinion expressly states that

  the    district      court's      prior disqualification                 order was        entered

  "without       objection,"          and        further       notes        that     the      prior

 disqualification            order    was    based       on    "an    obvious       conflict       of

  interest."        Id. at 272-73.           Additionally, and most importantly,

  the reference to erring on the side of disqualification not only

 appears in a footnote, but was made prior to the Supreme Court's

 decisions        in     Wheat      and     Gonzalez-Lopez,           which        lend     further

 clarity        to the      depth    of    the    Sixth       Amendment      right    to     retain

 counsel of choice.               See Sanford v. Commonwealth of Virginia,                        687

 F.     Supp.   2d 591,      602-03       (E.D. Va.      2009)     (noting that           "[w]hile,

 as     the Fourth Circuit           explained in Clarkson,                the assessment          to

 be made in a disqualification motion cannot be made with 'hair-

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  splitting    nicety,'                 it    is     nonetheless             true        that        the    asserted

  conflict must           be    a       real       one    and not          a    hypothetical               one    or a

  fanciful one,"          and that                 "some stronger indicator than judicial

  intuition        or     surmise             on     the        part       of        opposing         counsel        is

  necessary    to       warrant              the    drastic           step      of    disqualification              of

  counsel")        (internal             quotation              marks        and       citations            omitted)

  (emphasis        added).               Moreover,             the     Fourth            Circuit's          footnote

  statement    in       Clarkson,              which          has     never      been         repeated       by     the

  Fourth Circuit,          is expressly directed at "determining whether to

  disqualify       counsel          for       conflict           of    interest,"              not    determining

  whether disqualification is necessary in a criminal case due to

  the potential that counsel will be called as                                            a    fact witness at

  trial.      Clarkson,             567       F.2d       at     273    n.3;        cf.     United          States   v.

  Urutyan,    564 F.3d 679,                  686-87        (4th Cir.           2009)       (noting in a more

  recent conflict of                interest case                   that   the presumption in                    favor

  of a criminal defendant's                          counsel of choice,                       as recognized in

  Wheat,     can     be        overcome             by    demonstrating                  either       an     "actual

  conflict"        or     a      "serious                potential           for      conflict,"             without

  mentioning        that            a        court         should          err        on        the        side     of

  disqualification)                 (internal              quotation             marks          and        citations

  omitted).         Finally,             subsequent             to     Clarkson,              numerous       states,

  including Virginia,               have overhauled their ethical guidelines and

 adopted a rule that appears to create a higher burden in order

  to   disqualify         counsel.                 See    Cannon        Airways,           Inc.       v.    Franklin

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  Holdings Corp.,          669 F. Supp. 96,            99-100 (D. Del.              1987)    (citing

  to various federal and state cases, as well as manuals/handbooks

  on    professional            responsibility,            and    concluding               that     the

  "language of          [Delaware]      Rule 3.7(a)        is more restrictive than the

  . .     . language of         [Delaware]       DR 5-101 (B)        and DR 5-102 (A)"              and

  that a moving party is therefore required                              "to bear a higher

  burden"       to      demonstrate       the    propriety         of        disqualification);

  Flamm,       supra,    217-18        (indicating     that      ABA Model          Rule     3.7    was

  designed to        "minimize the use of the advocate-witness rule as a

  tactical weapon,          and ensure          that a litigant's choice of trial

  counsel       would     not     be    lightly disturbed,"              and        that    although

  "[t]he wording of DR 5-102 and Model Rule 3.7 is similar,                                       . . .

  the Model Rule places a higher burden" on the party moving for

  disqualification).

          In    contrast     to    Clarkson,         here,    this      Court's        inquiry       is

  informed by the Supreme Court's opinions in Wheat and Gonzalez-

  Lopez,       to include the direction in Wheat                     that a district court

  "must     recognize       a     presumption         in     favor      of     [a    defendant's]

  counsel of choice."              Wheat,       486 U.S. at 164              (emphasis added);

  see Gonzalez-Lopez, 548 U.S. at 148 n.3 (indicating that it was

  in Wheat that the Supreme Court "formulated the right to counsel

  of choice")        (emphasis added).           Moreover,        the facts of this case

  focus this Court's inquiry on the ethics surrounding the witness

  advocate       rule,    not     conflict      of    interest       rules,         and    the     fact

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 pattern before this Court is a far cry from the clear conflict

 of interest that arose in Clarkson where the defendant attorney,

 in    direct        violation           of       a    prior     court         order,              had    continued

 involvement with former tax clients while the government was in

 the     process        of     interviewing               such        individuals                  as     potential

 witnesses against the attorney in a criminal tax fraud case.

         Although one may question whether the footnote statement in

 Clarkson requires this Court to "resolve all doubts"                                                   in favor of

 disqualification when applying the                                 witness         advocate             rule,       this

 Court acknowledges                the wealth of               authority from prior opinions

 of this Court holding that "'the right of one to retain counsel

 of his choosing is secondary in importance to the Court's duty

 to     maintain        the        highest            ethical        standards                of     professional

 conduct       to    insure        and    preserve            trust      in    the        integrity             of    the

 bar.'"        Sanford,       687 F. Supp.              2d at 602         (quoting Tessier,                     731 F.

 Supp.    at    729).         Moreover,               the Fourth Circuit recently noted in

 Urutyan        that         the     "paramount               concern              is     the           judiciary's

  'independent         interest              in       ensuring       that          criminal              trials       are

 conducted          within     the       ethical         standards            of        the    profession             and

 that    legal       proceedings             appear       fair      to    all       who       observe        them.'"

 Urutyan,       564     F.3d       at     686          (quoting      Wheat,             486    U.S.        at     160) .

 There    is        therefore       no        question        that       the       proper          course        is    to

 disqualify          counsel        in       the       name    of     upholding               compliance             with

 ethical       rules      when          an        ethical      conflict             will           undermine,          or


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 seriously        threaten          to    undermine,           the     integrity         of      judicial

 proceedings.           That said, this Court's disqualification analysis

 is   mindful      of    the    Fourth         Circuit's         post-Clarkson direction                    in

 Aetna Casualty that federal courts should avoid doing more harm

 than good through a "mechanical and didactic" application of the

 ethical        rules,     Aetna         Casualty,           570      F.2d     at     1202       (quoting

 International          Electronics,             527    F.2d     at    1293),       as   well        as    the

 Fourth Circuit's subsequent statements in Shaffer v. Farm Fresh,

 Inc.,    966 F.2d 142,             146-47 (4th Cir.             1992), indicating that "in

 assessing        the propriety             of    disqualifying              counsel       on    'likely'

 conflict grounds          . . . [t]he drastic nature of disqualification

  [even    in a     civil           case]      requires        that     courts        avoid          overly-

 mechanical adherence to disciplinary canons at the expense of

 litigants'       rights to freely choose their counsel."                                   This       Court

 therefore endeavors to carefully weigh the unique facts of this

 case     against        the        relevant           ethical        standards,         taking           into

 consideration           defense         counsel's           assurances,        which         cannot        be

 discounted, id.          at 147,         as well as the prior decisions of this

 Court,    the Fourth Circuit,                   and    the Supreme Court,                 in a manner

 that seeks to avoid not seeing the forest for the trees.

         Accordingly,          as    "charged          by    Wheat"     this        Court       is   called

 upon      to      "exercise             its      sound        discretion            and        determine

 independently whether the continued representation by [defense]

 counsel        impedes    the       integrity          of     the    proceedings"            such        that

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  Perry's chosen counsel should be disqualified.                          Franklin,    177 F.

  Supp.     2d     at    4 64.       Explaining       the    district      court's     "broad

  discretion" in performing such balancing,                     the Fourth Circuit has

  noted as       follows:


          Wheat    thus     requires      a   district     court    to exercise      its
          own independent judgment as to whether the proceedings
          are likely to have the requisite integrity if a
          particular lawyer is allowed to represent a party.
          And, it made plain that for this purpose the court
          must     have     sufficiently         broad      discretion       to    rule
          without fear that it is setting itself up for reversal
          on appeal either on right-to-counsel grounds if it
          disqualifies the defendant's chosen lawyer, or on
          ineffective-assistance grounds if it permits conflict-
          infected representation of the defendant.

  United States v. Williams,                  81 F.3d 1321,        1324   (4th Cir.    1996).

  In the end,           while this Court must ensure the integrity of the

  proceedings,          and will     demand nothing          less   of    licensed counsel

  than strict compliance                 with the ethical       standards of the bar,

  contrary to the Government's suggestion at oral argument, "there

  is no rule of evidence absolutely excluding the testimony of a

  lawyer on behalf of his client."                     United States        v. Nyman, 649

  F.2d 208, 211 (4th Cir. 1980).                  Rather, "the question whether an

  attorney is competent to testify"                       turns on application of the

  relevant       ethical         rules    and   is    a    matter     "committed      to   the

  discretion of the trial court."                     Id. ; see Christensen v. United

  States,    90 F.2d 152, 154              (7th Cir. 1937)         (noting that there is

  not "'a rule of absolute exclusion'" that prevents an attorney

  from testifying as a witness and that "'the great majority of

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 the courts prefer to leave the question to the sound discretion

 of    members     of       the    bar with a           threat      of    scathing    reprimand          in

 case     of    abuse'"           (quoting        5    Jones'       Commentaries          on    Evidence

  (Second Ed.)         § 2154,          p. 4079)).          Stated differently,           the witness

 advocate       rule        "does        not     render       an    attorney        incompetent          to

 testify,       but merely vests the Court with discretion to determine

 whether counsel may appear as a witness without withdrawing from

 the     case."         Mercury           Vapor       Processing         Technologies,          Inc.    v.

 Village of Riverdale, 545 F. Supp. 2d 783, 788 (N.D. 111. 2008).

         As noted at              the    motions       hearing,      the    balancing tasked to

 this     Court        is    necessarily              difficult      at     this     stage       in     the

 proceedings because the Court is required to prognosticate how

 complex ethical principles will                            apply in light of          the      evidence

 to be presented at trial,                     yet the Court lacks access to the bulk

 of the evidence to be presented at trial.                                 It is plain that this

 Court begins with the settled "presumption in favor of [Perry's]

 counsel of choice,"               Wheat,        486 U.S.      at 164,     and the Court should

  "not interfere with that relationship" unless the government has

 met the "high standard of proof to show that disqualification is

 warranted"       in light of              the    governing ethical           standards and the

  "specific circumstances of the representation,"                                  Franklin,      177 F.

 Supp.     2d     at    4 63-64          (quotation         marks    and     citations          omitted)

  (emphasis added);               see United States v.               Gearhart,       576       F.3d 459,

 464     (7th     Cir.       2009)        (noting        that,      in     light     of    the        Sixth

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 Amendment          right      to     counsel       of     choice,       "disqualification            of

 defense      counsel         should     be    a     measure       of    last      resort"     (citing

 United       States     v.     Diozzi,       807     F.2d       10,    12    (1st      Cir.   1986)).

 Although       this     Court's        analysis          will     be    conducted         through     a

 careful step by step consideration of Rule 3.7,                                   the Court's task

 appears best summed up as                    "balancing the            individual rights and

 interests          of   the        defendant       to     his     counsel         of    choice     with

 maintaining the integrity of the proceedings."                                   Franklin,       177 F.

 Supp. 2d at 4 64.

                               C. Application of Rule 3.7(a)

        Lawyer As Witness

        (a)     A    lawyer         shall     not    act     as    an    advocate         in   an
        adversarial proceeding in which the lawyer is likely
        to be a necessary witness except where:
          (1) the testimony relates to an uncontested issue;
          (2) the testimony relates to the nature and value of
           legal services rendered in the case; or
           (3) disqualification of the lawyer would work
           substantial hardship on the client.

 Va.   Rule Prof'l Conduct 3.7(a).

              i. Court's Case Specific Evaluation as to Whether
                 Defense Counsel is "Likely to be a Necessary
                         Witness" on Behalf of the Defense

       The      first         question        at     issue       based       on    the    facts      and

 circumstances of this case,                        is whether Mr.            Broughton,       or Mr.

 Davis, is "likely to be a necessary witness"                                     on behalf of the

 defense.           The defense asserts that counsel's testimony is not




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 necessary to Mr. Perry's case,8 and further represents that "Mr.

 Perry     will    not     call    defense       counsel          as      a   witness."         Perry's

 Opp'n to Disqual.           10 n.3,          ECF    No.       85.        After considering            the

 parties' briefs in advance of the hearing on the instant motion,

 this      Court        seriously       questioned             such       assertion,          primarily

 because      it    appeared        to     the           Court       that      defense        counsel's

 testimony        was    necessary       to    Mr.        Perry's         case    since       it    would

 corroborate,       and thus substantially support the truthfulness of,

 both the testimony of former CPC CFO James Sears, and Mr. Perry

 himself (if he chooses to testify).                           As analyzed in a subsequent

 subsection of this Opinion,                  the Court had much less concern with

 the     suggestion        that     such      testimony             was       "necessary"       to     the

 Government's       case.         Accordingly,            at     the      motions      hearing,       this

 Court repeatedly pressed Perry's                         counsel      in an effort to              flesh

 out    the reasoning behind the defense's                             viewpoint        that    neither

 Mr.    Broughton nor Mr.           Davis       is a          "necessary"        witness        for   Mr.

 Perry.      As part of such probing inquiry,                                 the Court expressly

 noted     that,        assuming    no     conflict            of      interest,        the     current


   It is undisputed that the purported need for Mr. Perry's counsel to
 testify in this case did not arise until more than a year after
 counsel began representing Mr. Perry in this matter. Accordingly, for
 the reasons outlined in detail above, this Court construes Rule 3.7(a)
 as governing only whether Mr. Davis or Mr. Broughton is a necessary
 witness    on behalf       of    Mr.   Perry.           As    to whether        Mr.    Davis      or Mr.
 Broughton is a necessary witness for the prosecution, such analysis is
 governed by Rule 3.7(b).    However, even assuming arguendo that Rule
 3.7(a) governs whether either defense lawyer is a necessary witness
 for the Government, this Court finds that disqualification is not
 warranted because defense counsel's testimony is not "necessary" to
 the Government's case.

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 ethical      rules       appear    to    permit       one     of   Mr.        Perry's      lawyers       to

 stop working on the case                  in order to           serve as         a    fact witness,

 while      the    other    continues       as    trial        counsel.           Va.       Rule    Prof'l


 Conduct       3.7(c).          The       Court        further      noted        the        withdrawing

 attorney might be permitted to continue assisting with the case

 until the point of trial.                  Cf. Ford Motor Co.,                  2013 WL 4498698,

 at *7 (noting that the attorney being disqualified "will only be

 disqualified from acting as a trial advocate,                                 not from assisting

 in the preparation of                the case or even from assisting at trial

 in    a    non-advocacy        role").          Notwithstanding               such comments,            the

 defense maintained its position that                           neither Mr.            Broughton nor

 Mr.       Davis    was     a      "necessary"          witness,          and     the        Government

 maintained         its     position       that        not     only       is     Mr.     Broughton         a

 necessary witness,             but      that    Mr.    Broughton,         Mr.     Davis,          and   the

 entire Williams Mullen law firm should be disqualified.9

           Although       the   Court       pressed          defense       counsel           for     their

 reasoning,         and    suggested        on     the       record       that        the    Court       was

 leaning towards           disqualifying Mr.              Broughton,           but not Mr.           Davis

 or    Williams       Mullen,      the    Court        has     since    reflected           further       on

 both      the constitutional            presumption in a              criminal         case       and the

 two-fold argument made by the defense as                              to this issue.               First,

 9 The Government          appears correct             that,    if there was a conflict of
 interest between defense counsel and Mr. Perry, the entire Williams
 Mullen firm would need to be disqualified.    Va. Rule Prof'l Conduct
 3.7(c).   However, absent a conflict, Rule 3.7(c) expressly allows a
 law firm to remain in a case when an individual lawyer from such firm
 must testify at trial.

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  the   defense        contends       that    the    entire          issue    involving         Perry's,

  and defense counsel's,               2014    conduct          is    a tangential issue that

  has little to do with the charges contained in the superseding

  indictment       and/or       the    case     the       defense          intends     to       mount    at

  trial.     Defense counsel indicated that if Mr. Perry testifies,

  as is anticipated at this time, this issue will likely amount to

  "about one percent" of Perry's total testimony, because the 2014

  complaint       to    local police is          little more               than the continuation

 of     Perry's        consistent      position          that    he    is     not    guilty       of    the

  crimes    charged        in   the    indictment          and       that     it    was    his     former

  employees      that both committed Medicaid fraud and embezzled from

 CPC.      The defense          persuasively notes                   that Mr.       Perry not only

  took this precise position almost a year and a half prior to the

  filing    of     the    April       2014     complaint,            but     that    he     did    so    in

 writing in December of 2012 when he terminated Vernice Spain and

 Sarina     Freeman        for    embezzlement.                  Additionally,             it     appears

 undisputed        that     Mr.     Perry      informed          Vernice       Spain       and    Sarina

 Freemen in late 2012 that they were being investigated by the

 FBI.      It     also    appears       that    Mr.       Perry       continues       to     take      such

 position today, and will take such position before the jury as a

 defense to the pending criminal charges.                              Accordingly, as argued

 by the defense, it is a rather unremarkable point that Mr. Perry

 took this same position in his interactions with his lawyers in

 2012,     2013, and 2014,            ultimately culminating in the April 2014

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 report      of     embezzlement                 to     local          authorities.10                 Stated

 differently,         the        defense         does        not       contend      that        the     2014

  complaint is not relevant to Mr.                           Perry's defense at             trial,       but

  instead    argues       that     it       is   a    very       minor     part    of     such    defense

 because     all     it    does        is    demonstrate            that    Mr.     Perry       told     his

  lawyers in 2014 the same thing that he told them in 2012                                            (which

  is also the same           thing that               the defense will argue before the

  jury)—that former CPC employees, and not Mr. Perry, are guilty

 of crimes against Medicaid and CPC.

        Second,      the      defense            contends          that     to     the     extent        the

 Government        insists       on     focusing            at   trial     on     Mr.     Perry's       2014

 conduct,     rather than focusing on the evidence directly relevant

  to   the    charged        illegal          acts,         purportedly          committed        between

 January      of    2009      and       January             of    2013,     defense        counsel        is

 convinced that the              testimony of               CFO Sears,       which could include

  the admission of emails between defense counsel and Mr.                                             Sears,

 is     sufficient          to     both          rebut           the      Government's           improper

 characterization of Mr.                    Perry's 2014           conduct and to corroborate

 Mr.   Perry's      testimony          (if he         testifies).           Defense counsel             thus


 10Mr. Perry also took such position in late 2012 when his counsel asked
 federal     prosecutors         and agents           to investigate            an upcoming meeting
 between Vernice Spain and another CPC employee.                                  It is notable that
 such request appears to have resulted in at least one of the Assistant
 United States Attorneys assigned to this case having some personal
 involvement in facts relevant to the pending charges. However, just
 as    defense     counsel       are    not      "necessary"           witnesses        based    on    their
 involvement in the post-offense investigation, the federal prosecutors
 assigned to this case are not required to withdraw and testify as
 "necessary" witnesses based on their involvement in the investigation.

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  asserts     that      counsel's      testimony         would      be     cumulative         and    add

  little to the other evidence                    that will be presented at trial,

  and     although      such     testimony         is     potentially           helpful,        it    is

  something       substantially          less      than        "necessary."             See     In    re

  Chantilly       Constr.       Corp.,      39    B.R.       466,    473        (E.D.    Va.     1984)

  (indicating that attorney witnesses were not necessary because

  their     testimony       would      be    "cumulative            and    in    some        instances

  redundant"       to    testimony that could be                     offered      through other

  individuals that were present at the relevant meetings); Flamm,

  supra,     at      251-55      (indicating            that     counsel's            testimony       is

  typically not          deemed     "necessary"          when       "the    testimony counsel

  could give would be cumulative - and therefore duplicative or

  corroborative - of what other witnesses could testify about" or

  when     "counsel's     testimony         would       be   cumulative          of     the   written

  record");       see    also     Metropolitan           P'ship,         Ltd.    v.     Harris,       No

  3:06cv522-W,       2007 WL 2733707,             at *2        (W.D.N.C.        Sept.     17,    2007)

  (applying North Carolina Rule 3.7(a), which appears to track the

  ABA Model rule,         and concluding that an attorney should only be

  disqualified under            that     rule      when,       among      other       things,       such

  testimony "cannot be obtained elsewhere"                           (citing United States

  v. Dyess,    231 F. Supp. 2d 493,               496 (S.D.W. Va.           2002))).

         This Court entered the hearing on the motion to disqualify

  with     serious      reservations        as     to    the     completeness           of    defense

  counsel's       evaluation        of      the     "necessity"            of    at      least       Mr.

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 Broughton's testimony in order to "go to bat," so to speak, for

 Mr.   Perry.          However,       upon    further      reflection,          both           of   defense

 counsel's       arguments        in    response         to     the     Court's           queries         have

 substantial       sway with           the    Court.           Although       the     importance            of

 counsel's       compliance       with        ethical      rules       cannot        be       overstated,

  the Court is of the view that, particularly when operating in a

 murky    pre-trial        context,          the    responsible          course           is    to       tread

 carefully       with     respect        to    a     ruling          that,     in     effect,            would

 dictate to defense counsel how to try their case.

                   ii.    Counsel and Client in Best Position


         In   seeking      to    evaluate          the   position        of    the        defense         that

  their testimony is not necessary to Mr. Perry's case, it should

 go    without    saying        that    the     Court      possesses           just       a    sliver       of

 relevant        information            regarding:             (1)      the         facts           of     the

 Government's case;             (2)    the facts         of Mr.        Perry's intended case,

 should he choose to put on evidence;                           (3)    the role Mr. Broughton

 has taken in the defense of this case for the last year and a

 half; and       (4)    the role Mr. Broughton intends to play at trial.

 See Wheat,      486 U.S. at 162              (indicating that " [u] nfortunately for

 all concerned" a district court must resolve questions regarding

 counsel's ability to             represent          a criminal          defendant within the

 ethical rules "not with the wisdom of hindsight after the trial

 has    taken    place,         but    in     the    murkier          pre-trial           context         when

 relationships           between        parties          are     seen         through           a    glass,

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 darkly").           As        recognized        by       Virginia        courts        applying     the

 predecessor ethical                  rules governing            whether an attorney "ought

 to be called" as a witness on behalf of his or her client:

        [T] he attorney and client are in the best position to
        determine the necessity of counsel's testimony. . . .
        [I] f it is counsel's and client's best judgment that
        they can get by without testimony from counsel, then
        it is certainly not up to defendants to urge upon them
        a   different   plan   of   presentation                                 that      would
        necessitate disqualification.

 Adelman,    43      Va.       Cir.     546    (quoting Hirst             v.   Siegfried,       35   Va.

 Cir.    166,        169-70            (Fairfax        County          1994)     (alterations         in

 original).

        At   this             stage     in     the     proceedings,            there      is     simply

 insufficient         information             before      the     Court    for     it    to    conclude

 that it should substitute its judgment for that of the defense,

 and    rule that Mr.                 Broughton's,          or    Mr.     Davis',       testimony is

 "necessary"         to       the     effective      and     ethical       presentation         of   Mr.

 Perry's     case         at     trial.         To     the       contrary,       the     defense     has

 compellingly argued                  that defense counsel's                   testimony is only

 relevant       to        a     matter        tangential          to     the     charges       in    the

 superseding indictment, and that although counsel could testify

 on behalf of their client, such testimony would be just a single

 piece of evidence, among many, demonstrating that Mr. Perry has

 maintained since late 2012 that his former staffing coordinators

 are guilty of embezzlement and Medicaid fraud.                                  Moreover,       Fourth

 Circuit     precedent              suggests         that        it    would     be     improper      to

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 "ignore[]        the   representation of             [defense]         counsel"       and,       "based

 solely        upon     conjecture,"          conclude           that         counsel        must     be

 disqualified due            to the possibility that a hypothetical series

 of    events        could     occur    that        would       render        defense        counsel's

 testimony necessary.             Aetna Casualty,               570 F.2d at 1201; see also

 Hirst, 35 Va. Cir. at 169-70 (discussing "'three reasons why, in

 good faith disputes, deference should be paid to the judgment of

 the     counsel        whose    disqualification                is     sought'":           (1)    "'the

 attorney and the            client    are     in    the    best        position to          determine

 the necessity of counsel's testimony'";                          (2)    "'counsel and client

 face harsh consequences if counsel continues while possessed of

 crucial testimony:             the lawyers testimony might be inadmissible;

 counsel might be subject to disciplinary actions for violations

 of    the    code'";    and     (3)   "'if    it    is    counsel's          and    client's       best

 judgment that they can get by without testimony of counsel,                                        then

 it is certainly not up to [the opposing party]                               to urge upon them

 a     different        plan     of    presentation              that      would           necessitate

 disqualification'"             (quoting      Borman       v.    Borman,        3 93   N.E.2d       847,

 857     (Mass.      1979)).      Accordingly,         even assuming                that    Mr.    Perry

 "plan[s]       to    present     evidence      addressing             these     areas,       at    this

 time,    it is not clear to the Court that such evidence could not

 be provided by sources other than the Attorneys."                                     Adelman,       43

 Va.    Cir.    at    547.      This   Court    therefore             finds    it    imprudent       to,

 based       largely on      speculation,       "dictate          the     [defendant's]            trial


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 strategy"      through         concluding,           over        the        objections          of     the

 defense,    that defense counsel is a "necessary" witness that must

 withdraw from representation.                    Hirst,          3 5 Va.         Cir.    at    170;    see

 Virginia L.E.O.         1455, Mar.       13, 1992          (noting,         in a scenario where

 the   client     did    not    intend     to    call        counsel         on    her    behalf,       and

 where     the lawyer witness's               testimony           (1)    would purportedly be

 "cumulative"; (2) is potentially covered by a privilege; and (3)

 it did not appear "to be obvious" that counsel ought to testify

 on behalf of his client, that counsel may continue in the case,

 even if called as a witness by the opposing party, "until it is

 apparent    that       his    testimony is or may                  be       prejudicial         to    [his

 client]").

         In light of          the    facts before           the   Court at          this       time,    and

 the     parties'       explanation       as     to     the        relevance             of    the     2014

 conduct,    this Court's finding as to the lack of "necessity" of

 Mr.   Broughton's testimony on behalf of his client is strongly

 impacted by the tangential nature of the issue to which defense

 counsel possesses relevant factual evidence.                                 The Government,            of

 course,    has      every      right    to     choose        how       to    present          its    case.

 However,     the      Government's           contention           that       Mr.        Perry's       2014

 conduct,       if      interpreted        in         the     Government's                favor,        can

 demonstrate         "guilty        knowledge"    of        crimes       that       were       committed

 more than a year prior does                     not elevate                 counsel's         testimony

 about the advice provided to Mr. Perry to "necessary" status, as

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 it might in a case where counsel's advice could have the effect

 of   disproving         an    element       of    an       offense    charged          in a     criminal

 indictment.


                    iii.      No True "Advice of Counsel"                       Defense


         In     reaching       the    above       conclusion,          the       Court      rejects         the

 Government's           contention          that       disqualification                of     counsel        is

 always       required        whenever       a    defendant         intends       to    reference           the

 advice he received              from counsel during                  trial       testimony.            This

 Court acknowledges the existence of an "advice of counsel" legal

 defense,       which is generally raised in cases                               involving specific

 intent crimes, whereby a defendant seeks to rely on the "advice

 of counsel" as a shield from guilt regarding the crimes charged

 in     the     indictment.            In    such       a    case,     a     defendant          seeks        to

 establish        that    he    or     she       shared      all     the    relevant          facts     with

 counsel,        that     counsel          provided          legal     advice,          and     that        the

 defendant        reasonably          relied       on       such    advice,        thus       tending        to

 negate the mens rea for the charged specific intent crime.                                             See,

 e.g., United States v. Powell,                     680 F.3d 350, 356                  (4th Cir. 2012)

 ("A defendant           may     use       his     reliance on             the     legal advice of

 counsel      'to refute the government's proof that                               [he]     intended to

 commit the offense.'"                (quoting United States v. Miller,                         658 F.2d

 235,     237     (4th    Cir.       1981)))       (alteration             in    original);        United

 States v. Swafford,                 512    F.3d 833,         839     (6th Cir.         2008)     (noting

 that     the     "partial       defense          of        'advice    of        counsel,'        .     .     .

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 disproves the mens rea element of the offense,                            by showing that

  [the   defendant]     had    spoken     with    a     lawyer      from    the   same   firm

 representing him at trial about the legality" of his actions)11;

 see also United States v. Matsa,                No.    2:09cr297,     2010 WL 4117548,

 at *2 (S.D. Ohio Oct. 19, 2010)              (disqualifying counsel in a case

 where it was likely that the defendant would assert an advice of

 counsel defense associated with a letter drafted by his counsel

  "that resulted in a specific count in the indictment")                          (emphasis

 added).        When    a   defendant      establishes          a    proper evidentiary

 foundation for such an             "advice-of-counsel defense"               at a trial,

 the court will         instruct the jury on                  the    law governing such

 defense.       See Powell,    680 F.3d at 356-57.

         Here, the traditional "advice of counsel" defense is simply

 not at issue.         Notably, even if Mr. Perry testifies about advice

 he   received     from     defense      counsel:       (l)    his    reliance     on    such

 advice is not an affirmative defense to the mens rea element of

 any crime charged;         (2) defense counsel's advice/conduct does not

 form     the    factual      predicate     for        any    crime    charged      in    the

 11 Although the Government cites Swafford in support of its contention
 that Perry's counsel should be disqualified,                   not only did that case
 involve the potential        for   an   "advice of      counsel"     defense that       could
 have negated an element of the offense charged in the indictment, but
 the law firm representing the defendant      "refused to allow the
 defendant to call the lawyer who allegedly provided the advice,"
 revealing a direct conflict of loyalties to the firm and the client.
 Here, Perry's lawyers are willing to stipulate to "any true fact"
 relating to the 2014 conduct and their advice to Perry, and the nearly
 identical affidavits before the Court submitted by Mr. Perry and Mr.
 Broughton suggest a unity of position and lack of questions regarding
 conflicting loyalties.

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 superseding indictment;                  and    (3)    Mr.       Perry will not request,             or

 receive,         a     jury      instruction          outlining          the     law    behind      the

 "advice-of-counsel               defense"        because          the    facts     of     this     case

 simply      do       not     implicate         such        defense.        Rather,        here,     the

 Government           first    sought      to    revoke       Mr.       Perry's    bond,    and     then

 sought disqualification of the entire law firm representing Mr.

 Perry,    based on activities occurring more than a year after the

 end    of        the       criminal      conduct           charged        in     the    superseding

 indictment.            In defense         to    these       uncharged accusations               of Mr.

 Perry's      recent          misdeeds,     something             the    Government      intends      to

 pursue      at       trial    not      because        it    is    an    element    of     any     crime

 charged,     or a defense to any crime charged,                            but instead because

 the Government             views       such evidence             as strengthening its case,

 Perry seeks to demonstrate, consistent with the presumption that

 he is innocent of the crimes charged, that there is an innocent

 explanation            for       his     2014         conduct.            As     part      of     such

 demonstration,             and      likely      dependent          on     how     the     Government

 presents     its case            in chief,       Perry may testify about advice he

 received from his                lawyers associated with what appear to be

 largely undisputed,                and    largely unremarkable,                  facts:    (1)    that

 Mr. Perry consistently maintained in 2012, 2013, and 2014, as he

 will maintain at trial, that he is innocent, and that former CPC

 employees stole money from CPC and the federal government;                                         and

 (2)   based on Mr.               Perry's assertion of innocence coupled with

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 CPC's    business          records          showing       atypical       "bonus"       checks       being

 issued to former CPC employees in July of 2012,                                     defense counsel

 was     intimately         involved          in     the     2014       complaint       process        and

 advised    Mr.       Perry       that       he    should        file    such     complaint.           The

 Court,    therefore,            finds       that disqualification               is    not warranted

 merely     because         Mr.    Perry          may      reference       at    trial       advice     he

 received from his lawyers.

                  iv. Consultation with Independent Counsel

         Notwithstanding the Court's conclusion that defense counsel

 is not     "likely         to    be     a    necessary          witness"       on    behalf     of    Mr.

 Perry,     as        is     well-established                across       the        numerous        cases

 considered by             the    Court       prior      to ruling        on     this motion,          the

 Court      has         "'an       obligation               to     foresee           problems         over

 representation            that    might          arise     at    trial     and       head    them     off

 beforehand.'"             Basham, 561 F.3d at 323-24 (quoting United States

 v. Howard,       115 F.3d 1151,              1155       (4th Cir.       1997)).       Therefore,       as

 suggested       by    the       Court       at    the     hearing,       and    as    agreed     to    by

 Perry's current counsel at the hearing,                                the Court INSTRUCTS Mr.

 Perry     to     consult         with        independent          counsel        outside       of     the

 Williams       Mullen       law firm             to ensure        that     the       best   strategic

 course     is     to       proceed          to     trial        without        defense      counsel's

 testimony as part of the defense case.12                                  Should Mr.         Perry be


 12 Mr. Davis stated at the hearing that if Mr. Perry were to "waive"
 the right to call counsel as a witness on his behalf, then Perry would
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 unable        to    afford         consultation            with       independent         counsel,         he

 should        report       such         fact    to      the        Court    and    the      Court      will

 investigate          such        assertion        and      explore         appointing        counsel       to

 perform such limited representation.

         The       Court    assumes         that      Mr.      Perry's       current       counsel      have

 conducted nothing less than a complete and honest evaluation of

 the need for their testimony in light of all facts of which they

 are    aware       and    in      light    of     the      intended         strategic       trial    plan.

 Accordingly,          if after consultation with independent counsel,                                     Mr.

 Perry decides that the best strategic course is to keep both Mr.

 Davis    and       Mr.    Broughton on            the      trial      team,    Mr.    Perry and his

 counsel       at    Williams        Mullen        are      hereby ADVISED          that      once    trial

 begins,       there       are     no     guarantees           that    defense      counsel         will    be

 permitted to testify on behalf of Mr.                                  Perry if he has a last

 minute       change       of      heart.        See        Hirst,      35    Va.     Cir.     at    169-70


 need    to    speak       to    independent       counsel.            Although     the      question      now
 before this Court              is whether the Government's motion demonstrates that
 Mr. Davis or Mr. Broughton is likely to be a necessary witness on
 behalf of their client, addressing such question in this context
 requires the Court to inquire into whether, after self-reflection as
 to their ethical duties, defense counsel intends on testifying and/or
 anticipates a need to testify.  Presumably, counsel has discussed this
 issue and their strategic trial plan with Mr. Perry as defense counsel
 has represented to the Court that it does not intend to rely on
 defense counsel's testimony as part of Mr. Perry's defense.     Stated
 differently, defense counsel believes that Mr. Perry will be better
 served having Mr.              Broughton by his side at counsel                    table rather than
 on the witness stand.                    With counsel's agreement, and to avoid any
 later suggestion that                   a Williams Mullen attorney provided biased
 advice       on    this        issue,    Mr.    Perry         is    instructed       to   consult      with
 independent counsel to help provide a disinterested viewpoint as to
 whether Mr. Broughton and/or Mr. Davis is a "necessary" trial witness
 to be called on behalf of Mr. Perry.

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 (noting        that    "counsel       and    client        face    harsh       consequences        if

 counsel        continues       while    possessed          of     crucial       testimony:        the

 lawyer[']s          testimony     might       be     inadmissible;         counsel       might     be

 subject        to   disciplinary        actions          for   violations       of     the    code")

 (citation omitted).              Moreover,         having been instructed to consult

 with independent counsel,                this Court will not likely credit any

 future suggestion that Mr. Perry's Williams Mullen attorneys had

 a    self-interest        in    remaining          on    the    trial    team    and    therefore

 provided biased advice.13

                          v. Exceptions within Rule 3.7(a)

          In    light     of    the     conclusion          above    that,       based        on   the

 information before the Court, neither Mr. Broughton or Mr. Davis

 is   a   "necessary"          witness    for       the   defense,       this    Court    need not


 13 This Court recognizes that tactical trial decisions are "left to the
 judgment of counsel," and absent a few "fundamental issues that must
 be personally decided by the client," such as a defendant's decision
 to testify in his defense, "[c]ounsel need not consult with the client
 about    the    matter   or    obtain   the    client's        consent."       United States       v.
 Chapman, 593 F.3d 365, 369 (4th Cir. 2010).      " [W] hich witnesses to
 call [at trial] is a classic tactical decision left to counsel, and it
 remains a decision for counsel even when the client disagrees."                                   id.
 (citations omitted).            However,      here,      because the decision at             issue is
 whether defense counsel will                themselves be a trial witness,                   and such
 decision implicates Mr.              Perry's Sixth Amendment right to counsel of
 choice, the Court agrees with Mr. Davis that the best course is not
 only for Mr. Perry to weigh in on this matter, but to afford him the
 opportunity to discuss the matter with independent counsel.    That
 said, if either Mr. Davis or Mr. Broughton anticipate a likely need
 for his own testimony at               trial on behalf of his client, he must of
 course comply with his                 ethical duty regardless of his client's
 viewpoint.  Cf. Virginia L.E.O. 1359, June 28, 1990 (indicating that
 "[w]here there is doubt as to whether an attorney should testify on
 behalf of his client, the attorney should consider the interests of
 the client and if the client's interests would be better served by his
 attorney's testimony than by his representation, the attorney should
 withdraw and should side on the issue of testifying").

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 squarely address the exceptions set forth in Rule 3.7(a),                                  which

 govern when a             lawyer may remain in a               case    even if    his    or her

  testimony     is         "necessary,"       and    include      when    the    issue     to    be

  testified       to        is     "uncontested"         and     when     withdrawal        would

 constitute       a    "substantial           hardship"    on     the    client.        Although

  this Court does not squarely address such exceptions,                                 in light

 of    the     evidence           currently     before     the     Court,       including       Mr.

 Perry's and Mr.                Broughton's consistent affidavits,                there appear

 to be potentially compelling arguments supporting a finding that

 defense counsel's testimony "relates to an uncontested issue"14




 14 Although the Government insists that the testimony that would be
 offered by defense counsel relates to a contested issue, it appears to
 the   Court   that        the   Government    contests   the    inferences     that    should be
 drawn from Mr. Perry's 2014 conduct, not the conduct itself.      Mr.
 Perry and Mr. Broughton both submitted affidavits and the sworn
 statements therein are entirely consistent.   The Government has not
 presented any contrary evidence, and admits that it does not question
 the   accuracy       of    Mr.    Broughton's      statement.      Rather,     the    Government
 seeks   to elicit         at    trial   defense   counsel's     admission that       counsel   was
 in essence "operating in the dark" because Mr. Perry failed to admit
 criminal wrongdoing to his lawyers.  However, defense counsel's oral
 representations to the Court and                    the information        contained in        the
 sworn affidavits demonstrate that                   neither defense        counsel, nor        Mr.
 Perry, dispute the fact that Mr. Perry has consistently told his
 lawyers that his former employees were stealing from CPC and Medicaid.
 Accordingly, the real dispute envisioned by the Government appears to
 be whether Perry is guilty of criminal activity occurring between 2009
 and 2013, not what he told his lawyers in conjunction with the 2014
 complaint.   In essence, the Government contends that because Perry is
 guilty of crimes in 2009 - 2013, there is no reasonable explanation
 for his 2014 conduct.   In contrast, Mr. Perry asserts that because he
 is innocent of crimes in 2009 - 2013, there is an exceedingly
 reasonable explanation for his 2014 conduct.   In the end, the parties'
 differences appear to be focused on what happened between 2009 and
 2013, and not on what Mr. Perry did, or said to his lawyers, in 2014.

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 and/or       that,    disqualification           of     Mr.    Broughton       would     work    a

  "substantial hardship"15 on Mr. Perry.

                           D. Application of Rule 3.7(b)

         Having       concluded     that    disqualification               is   not    warranted

 based on Mr.         Perry's need to call his counsel as a witness for

 the defense,         the Court must separately consider whether defense

 counsel should be disqualified based on the possibility that the




 15 It is undisputed that Mr. Broughton has worked on this case for a
 year and a half, and it appears that this case involves hundreds of
 thousands of documents, multiple alleged frauds,      a fact-intensive
 defense alleging fraud by CPC employees, and a jury trial that is
 expected to last three full weeks.    Especially when balanced against
 the fact that Mr. Broughton's testimony is only relevant to a
 tangential matter, it appears that the loss of Mr. Broughton from the
 trial team may constitute a substantial hardship.   See VA Rule Prof'l
 Conduct 3.7, Comment 4 ("Whether the opposing party is likely to
 suffer prejudice depends on the nature of the case, the importance and
 probable tenor of the lawyer's testimony, and the probability that the
 lawyer's testimony will            conflict with that          of    other witnesses.          Even
 if    there   is a     risk   of   such    prejudice,         in    determining      whether    the
 lawyer should be disqualified due regard must be given to the effect
 of disqualification on the lawyer's client.")   (emphasis added); VA
 L.E.O. 976, Sept. 1, 1987 (indicating that a substantial hardship
 might exist where "a complex suit had been in preparation over a long
 period of time and a development which could not be anticipated makes
 the lawyer's testimony essential"); In re Chantilly Const., 39 B.R. at
 473 (indicating that it would be a "substantial hardship" for counsel
 to withdraw after providing "approximately one thousand (1,000) hours
 of     services").       Moreover,        this        Court   is    not    unmindful     of     the
 substantial resources of the U.S. Attorney's Office and investigating
 agencies in prosecuting a complex federal criminal case as contrasted
 with the resources of an accused citizen defending such a case.  It is
 notable that, unlike many criminal cases tried before this Court, the
 Government has assigned two Assistant United States Attorneys to the
 criminal trial team. The defense's contention of an extreme hardship
 therefore may ring true,     because even if    the  trial was again
 continued, it appears doubtful that any replacement counsel could
 timely develop a familiarity with the law, the facts, and with Mr.
 Perry, equal to that obtained by Mr. Broughton over the last year and
 a    half.


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 Government will call defense counsel as a witness                            (either in its

 case in chief or on rebuttal).                  The controlling rule states:

         Lawyer As Witness

         (b) If, after undertaking employment in contemplated
         or pending litigation,    a lawyer learns or it is
         obvious that the lawyer may be called as a witness
         other than on behalf of the client, the lawyer may
         continue the representation until it is apparent that
         the testimony is or may be prejudicial to the client.

 Va.    Rule Prof'l Conduct 3.7(b)                (emphasis added).                As    set forth

 in the plain language of                such rule,        a lawyer is not prohibited

 from acting as          both counsel and a witness                in the same trial if

 such attorney will             be    called only by opposing counsel and his

 testimony will not be prejudicial to his client.

         As   discussed       above     in   Part     III.A.i,     Virginia         Rule        3.7(b)

 essentially          incorporates       former       Virginia    DR     5-102(B)         into        the

 current        Rules    of     Professional           Conduct.          Interpreting                 and

 applying       former     Rule       5-102(B),       another     judge       of        this        Court

 established a three-part legal test governing the resolution of

 a     motion    to    disqualify       opposing       counsel     based      on        the    moving

 party's      intention to           call opposing counsel          as    a   trial witness,

 stating:

         [D]isqualification              under        DR    5-102(B)          must             be
         accompanied       by    a    showing     that     the    testimony         of     the
         lawyer is (1) relevant; (2) necessary; and (3) is or
         may be prejudicial to the client whose lawyer is to be
         called as a witness by the adverse party.   The moving
         party bears the substantial burden of demonstrating
         specifically how and as to what issues in the action
         the prejudice exists or is likely to occur.

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 Personalized Mass Media,              899   F. Supp.      at 243        (internal citation

 omitted);       see Virginia L.E.O.          1394,     Feb.     15,     1991    ("'[W]hen an

 attorney is       to be called other than on behalf of                         his client,    a

 motion for disqualification must be supported by a showing that

  the attorney will give evidence material to the determination of

  the   issues    being   litigated,         that    the    evidence       is unobtainable

 elsewhere, and that the testimony is or may be prejudicial to

 the testifying attorney's client.'")                   (quoting Cottonwood Estates

 v. Paradise Builders,           624 P.2d 296,        302 (Az. 1981)).

        Here,     as     the     moving      party,        the     Government        bears     a

  "substantial      burden"       to    demonstrate          that      defense      counsel's

 testimony is relevant,           necessary,        and may be prejudicial to Mr.

 Perry.     Personalized Mass Media,                899 F.       Supp.    at 243.      If the

 applicable       test    were    otherwise,        the     ethical        rules    could     be

 improperly       utilized       to    unseat       opposing        counsel       solely     for

 strategic purposes.16           Because, here, there is no assertion that




 16 This Court reiterates that the fact pattern in this case involves a
 purported need for defense counsel to testify based on conduct
 occurring nearly a year and a half after counsel was retained.   The
 recency of   the  factual developments to  which defense   counsel's
 testimony is relevant coupled with the previously uncontemplated need
 for defense counsel's testimony not only dictate application of Rule
 3.7(b), but are factors that are considered in the balancing conducted
 by the Court as they are in stark contrast to scenarios where counsel
 and client know from the outset of representation that there is a
 potential or likely conflict of interest.   See Keith Swisher, The
 Practice and Theory of Lawyer Disqualification, 27 Geo. J. Legal
 Ethics 71, 92-93 (2014) (discussing factors that courts typically
 consider with respect         to a lawyer's conduct,            including "the state of

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 defense counsel's testimony is not "relevant," the Court focuses

 its    analysis      on    the    second       and     third     prongs       of    the    test       set

 forth in Personalized Mass Media.


                                  i. "Strictly Necessary"

        In    determining          whether        the      Government          has    carried          its

  "substantial        burden"        to        prove       the    necessity          of      opposing

 counsel's testimony,             it appears well-settled that,                      in both state

 and    federal       courts      applying        the      Virginia      ethical       rules,          the

 moving      party     must       demonstrate           that     "'the        witness-advocate's

  testimony      is    'strictly           necessary,'           not    merely       that      it       is

 relevant and useful.'"               Ford Motor Co.,              2013 WL 4498698,               at    *4

  (quoting Sutherland v. Jagdmann,                     No. 3:05cv042,          2005 WL 5654314,

 at *2 (E.D. Va. Oct. 31, 2005))                      (emphasis added); see Teleguz v.

 Commonwealth,        273 Va.        458,      491     (2007)     (quoting Sutherland                  for

 the proposition            that a        "party seeking          to    invoke       the witness-

 advocate rule for disqualification purposes must prove that the

 proposed witness-advocate's testimony is strictly necessary").

        Here,     similar to the analysis set forth above regarding

 whether     defense        counsel       is    "necessary"        as     a    witness       for       the

 defense,       the   Court       finds    that      the    Government         has    not    at     this

 time   carried       its    burden       to    demonstrate        that       defense       counsel's

 testimony is "strictly necessary" to the Government's case.                                           See



 the lawyer's knowledge about the conflict" and whether the                                       lawyer
 "might have inadvertently engaged" in the conduct at issue).

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 Sutherland,        2005      WL    5654314,       at     *2     (finding         that    the    moving

 party    did      not   carry        its    "'substantial            burden'       to    prove        the

 necessary elements of the witness-advocate rule"                                 as it failed to

 describe how such testimony was                         "genuinely unique so as                  to be

 strictly necessary").                   First,     due    to the          tangential nature of

 the issue to which defense counsel's testimony is relevant, it

 appears     that,       if     the      Government's          allegations         are     true,       the

 Government could prove                  that Perry       is guilty of each and every

 crime     charged         in      the     superseding           indictment          without          ever

 mentioning a single event occurring after January of 2013.                                            Not

 one   offense      charged         in    the     indictment          relies      on     any    conduct

 occurring in 2014, by Perry or by his counsel,                                   nor is the 2014

 conduct    an     affirmative           defense     to any          conduct       charged in          the

 superseding        indictment.              Rather,       the        Government         appears        to

 believe that the 2014 conduct will strengthen its case through

 proving Perry's          "guilty knowledge."                  Cf.    Diozzi,      807 F.2d at 14

  (setting aside the defendants'                   convictions based on the district

 court's    improper disqualification of                        defense      counsel      in a case

 where    the    government         called defense counsel                   as   witnesses       in an

 effort to prove "defendant's consciousness of guilt").

         Second,     while         the    Court    does    not        seek    to underplay             the

 relevance of        Perry's        2014    conduct       to    the Government's               case,    or

 to Mr.     Perry's      defense         asserting        that       CPC    employees         committed

 crimes    against       Medicaid         and     CPC,    the    2014       conduct      is     but    one

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 example of Mr. Perry's stated position that his former employees

 are    responsible            for    criminal          activity.            Mr.    Perry        took       such

 position as early as the day that CPC's offices were                                            searched,

 and     shortly             thereafter          Perry        tried         to     convince         federal

 authorities            to    investigate            CPC      staffing           coordinator        Vernice

 Spain       and     witness         an    upcoming          meeting        she     was    having           with

 another       CPC      employee.              After    federal        authorities          declined          to

 witness such meeting,                    in December of 2012, Mr. Perry fired CPC

 employees Vernice Spain and Sarina Freeman and both accused them

 of embezzlement and told them that they were being investigated

 by    the    FBI       for    Medicaid         fraud.             Based    on    such     facts,       which

 appear to be            supported by documentary evidence,                             the Government

 is surely not surprised that,                          in early 2014,              Perry maintained

 his position that former CPC employees had both embezzled funds

 from    CPC       and       were    the       individuals           responsible          for     fraud       on

 Medicaid.              Additionally,            Mr.        Sears      (and       Mr.     Perry        if     he

 testifies)          can      both        be    questioned           by     the    Government           about

 Williams Mullen's involvement in drafting the complaint that was

 filed with          local      authorities            in    April        2014.     The     defense          has

 also offered to              stipulate         to     the    information in the                affidavits

 before this Court outlining counsel's involvement in filing the

 2014    complaint.             Although          the        Government          plainly        desires       to

 directly question Mr.                    Broughton about facts associated with the

 drafting          of    such        complaint,              the     Government           has     at        best

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 demonstrated that           such testimony could be                         "helpful and useful"

 to the Government's case,                    not   that       it is "strictly necessary."

 See Flamm, supra, at 234                    (indicating that when a party seeks to

 call opposing counsel as a witness,                           and moves to disqualify on

 such   basis,      some     courts          require      "a     showing       that    the    evidence

 sought to be obtained from counsel                            is not merely relevant and

 admissible, but indispensable - particularly in a criminal case;

 because,    when the government plans to call[]                               defense counsel to

 testify,      the        Sixth        Amendment         right      to        choose    counsel        is

 implicated").

        In a      similar vein,             even if      Perry took           the stand at          trial

 and    testified         that         he    reported       the     embezzlement             to     local

 authorities         in     2014        on    the        "advice        of     counsel,"          defense

 counsel's        testimony        would       still       not     be    "strictly        necessary"

 because not only can Perry be thoroughly cross-examined on such

 issue,     but    he     must     presumably            testify        consistently         with     the

 affidavit that he provided to the Court,                               and with the affidavit

 that Mr. Broughton provided to the Court.                                   See Flamm,      supra,    at

 24 9   (citing various           cases       in    support of          the    assertion      that     "a

  'necessary' witness is not the same thing as the 'best' witness;

 testimony may be           relevant,         material,         helpful,       and useful - even

 extremely         useful          -        without,        strictly            speaking,           being

 necessary").        Although the Government may ultimately demonstrate

 to the   Court that it should be permitted to call Mr.                                      Broughton

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 as     a    trial     witness,       it     is    notable          that    defense    counsel     has

 offered to stipulate not only to all facts contained within the

 affidavits,           but    to    "any     true      fact"        associated      with   counsel's

 advice to Perry regarding the filing of the 2014 complaint.                                        As

 previously indicated,                the consistent sworn positions taken by

 both       Mr.      Perry    and     Mr.     Broughton             establish       that   counsel's

 involvement in the 2014 complaint was predicated on CPC records

 and Mr. Perry's assertions to counsel that former CPC employees

 had stolen money from CPC.                       Perry Aff.         fU 13-14; Broughton Aff.

 1111 13-14.         Accordingly, counsel's post-indictment involvement in

 preparing a written document containing Mr.                                  Perry's version of

 the        facts      does    not      render          counsel's           testimony      "strictly

 necessary."

            In considering defense counsel's involvement with the 2014

 complaint,            and    whether        such           involvement       renders      counsel's

 testimony           "strictly       necessary,"             this     Court     agrees     with    the

 analysis         in    United     States         v.   Evanson,        No    2:05cr805,     2006   WL

 2992561       (D.     Utah Oct.       18,        2006),      a case        where   the government

 sought to disqualify defense counsel based on counsel's limited

 involvement in what the government characterized as post-offense

 efforts in the vein                 of obstructive              conduct.           In denying     the

 motion to disqualify, the court noted, among other things, that:

  (1)   "the areas of [counsel's]                      alleged knowledge are tangential

 and speculative";             (2)    the disputed conduct                   "occurred after the

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 alleged     wrongdoing      in    the     indictment";          and    (3)     the   documents

 associated       with     the       post-offense           conduct       "themselves         are

 evidence," further undercutting the need for counsel to testify

 about such documents.              Id.    at    *5.     After reviewing additional

 reasons why the motion to disqualify lacked merit,                               the Evanson

 court explained as follows:

        The government's motion has serious implications on
        the  interests  of  justice.  If  counsel  who assist
        clients in investigative stages are to be disqualified
        in trial stages, defendants will be substantially
        restricted in their choice of counsel.     Those being
        investigated will be substantially restrained in their
        ability to consult counsel in investigative stages if
        such counsel are subject to being called as witnesses.
        A person under investigation will be restricted in
        resolving the legal implications of on-going business
        activities.   These infringements on the activities of
        counsel and the client's right to choose are serious.

 Id.   at   *6.


        Defense    counsel's        involvement        in   the        filing    of    the   2014

 complaint also appears similar to the conduct of defense lawyers

 in    United     States    v.     Diozzi,       where      in    response        to    an    IRS

 investigation,          defense     lawyers         made   detailed          pre-indictment

 submissions      to the    IRS     and Department of Justice on behalf of

 the defendants.          Diozzi, 807 F.2d at 11.                Government prosecutors

 in Diozzi convinced the district court that defense counsel were

 "material witnesses" that were necessary at trial to prove the

 defendants'       "consciousness          of    guilt"      based       on     the    asserted

 existence of numerous             false    or misleading statements contained

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 in the written pre-indictment submissions that had been prepared

 by   defense    counsel.          Id.     at       12.       In    reversing              the    district

 court's improper disqualification of defense counsel,                                           the First

 Circuit     explained       that        it      "fail[ed]           to        see     how        [defense

 counsel],      by    submitting     factual              statements           to    the     government

 under power of attorney on behalf of their clients,                                        had vouched

 for the truth of those statements                         in a manner requiring their

 disqualification."           Id.    at       14.         Rather,     counsel's             submissions

 were "no different" than any pretrial motion or memorandum where

 counsel     presents      his     "client's           view    of     the        facts"          based    on

 information his client has provided to counsel.                                     Id.     Similarly,

 here, counsel's involvement in the filing of the 2014 complaint

 did not     "vouch"      for the fact that the reported transactions

 constituted embezzlement, counsel merely prepared such complaint

 as   part of Perry's defense based on the information and records

 provided by Perry.17

       It     thus       appears         that          defense        counsel's                  testimony

 establishing that Mr. Perry denied his guilt to his lawyers and

 17 As stated at oral argument,                 the Government asserts that the 2014
 embezzlement        complaint,    which        was       prepared    by       Mr.     Broughton,         is
 misleading and false.        The Government further asserts that it seeks to
 attribute    such     falsities    to     Mr.        Perry,   not        to    his        counsel.       It
 therefore appears that the "most accurate evidence of the statements
 contained in the written [complaint]  [is] not counsel's memories of
 the contents of the [complaint], but rather, the written [statements]
 themselves"  coupled with either Mr.      Perry's testimony,  defense
 counsel's offered stipulation, and/or Mr. Sears' testimony, that such
 information is based on CPC records and Mr. Perry's consistent and
 repeated    assertions      that    the        checks       discussed          therein          were    not
 authorized by CPC or Mr. Perry.                Diozzi,      807 F.2d at 13.

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 pointed     the       finger         at    former         CPC     employees       would     be     an

 undisputed        and      largely        unremarkable           factual       assertion.         The

 Government        therefore      fails          to   carry      its     substantial      burden    to

 demonstrate          that      defense          counsel's         testimony        is     "strictly

 necessary" to the Government's case.

          ii. Testimony "is or may be prejudicial to the client"

         Turning to the third prong of                        the Personalized Mass Media

 test,     the     prejudice          prong,          "[t]he      moving        party    bears     the

 substantial burden of demonstrating specifically how and as to

 what issues in the action the prejudice exists or is likely to

 occur."     Personalized Mass Media,                      899 F. Supp. at 243 (emphasis

 added)      (citing         cases).              Here,         the      Government's       primary

 contention of           prejudice          appears        to     be     that    any     testimonial

 admission by defense counsel that Mr. Perry denied his guilt to

 his     lawyers      and    characterized             the    July       2012   bonus     checks    as

  "unauthorized"         will    be    prejudicial           to    the    defense       because    the

 trial evidence will clearly demonstrate that Perry is guilty of

 fraud     crimes.           Having        considered         such argument,             and having

 carefully compared             the    information           in    the    affidavits      submitted

 by Mr.    Perry,      former CPC CFO Sears, and Mr.                        Broughton,      as well

 as considering the Government's express opportunity to explain

 at oral argument "specifically how" defense counsel's testimony

 is    likely    to      prejudice         Mr.    Perry,         the   Court     finds     that    the

 Government has failed to carry its "substantial burden."

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        As    already      discussed        at     length,     the     Court    finds       it

 unremarkable that leading up to the 2014 complaint,                            Mr.    Perry

  continued to assert his innocence to his lawyers and continued

  to point      to his    former employees          as the guilty parties.                 The

  Court therefore fails to appreciate why the jury would hold it

 against Perry that he asserted his innocence to his lawyers, any

 more than they would hold it against him that he is asserting

 his innocence at trial.                In actuality, the Government appears to

 be arguing that Perry's defense in total will be discredited by

  the   trial    evidence        directly        relevant     to   the    charged      fraud

 crimes, not that he will be prejudiced by what his lawyers would

 say    regarding        the     2014     report      of     embezzlement       to    local

 authorities.18          The Government therefore fails to specifically
 demonstrate      that     defense        counsel's        testimony     is    or    may   be

 prejudicial to Mr.            Perry.     See Stanwood Corp. v. Barnum, 575 F.

 Supp. 1250, 1251-52 (W.D.N.C. 1983)                  (rejecting an interpretation

 of predecessor North Carolina disciplinary rule DR 5-102(B) that

 would allow a "party to deprive his adversary of the counsel of



 18 Associated with the instant issue was a discussion at the motions
 hearing regarding the scope of the Government's intended questions of
 defense counsel should Mr. Broughton or Mr. Davis testify at Mr.
 Perry's criminal trial.  Although a matter for another day, as stated
 on the record at the hearing, the Court has significant reservations
 regarding the Government's characterization of the scope of Mr.
 Perry's waiver of the attorney-client privilege as involving matters
 beyond discussions with his lawyers associated with whether the checks
 that were reported to local authorities in 2014 were "authorized" by
 Perry/CPC,     or unauthorized embezzlement by former employees.                      Perry
 Aff. UH 13-14; Broughton Aff. HH 13-14.

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 his     choice"       without       advancing              "proof    that      the    substance       of

 counsel's testimony (if offered)                           will compromise           [his client's]

 case");       Clinton Mills,            Inc.    v. Alexander & Alexander,                    Inc.,   687

 F.    Supp.    226,    231    (D.S.C.          1988)       (interpreting predecessor South

 Carolina disciplinary rule DR 5-102(B)                              as requiring an opposing

 party to demonstrate a "concrete showing of prejudice" which is

 "more     than    de    minimus"             [sic])        (internal      quotation        marks     and

 citations omitted).19

         Moreover,      in considering all of                     the relevant arguments and

 attempting to best prognosticate how this matter will play out

 at    trial,     the Court disagrees                  with the Government's                suggestion

 that     disqualification               is      warranted           due   to    defense        counsel

 "injecting"        itself          into        the     "fact        pattern"     of     this     case.

 Although       what    constitutes             the     "fact     pattern"       of    this    case    is

 amorphous       and    turns       on    each party's            presentation         of     evidence,

 the     fact    pattern       of     this       case        is   primarily       defined       by    the



 19 The Government            also contended at oral argument                     that it will         be
 prejudicial to Perry if his counsel testifies that counsel and Perry
 never had a conversation about whether Mr. Perry should advise local
 authorities that he had been federally indicted.       The Government,
 however, fails to demonstrate why such fact is prejudicial to Perry,
 especially in light of Perry's own admission that no such conversation
 took place.   If defense counsel testifies and confirms the absence of
 a conversation, it would only prove that Perry is telling the truth.
 The Court's analysis may be different if counsel told Perry that he
 should alert local authorities to such fact and he did not.                                    However,
 the fact that a lawyer might not have recognized the need to make such
 point to local authorities (perhaps because of the press coverage of
 this case) arguably helps Perry as it would support the contention
 that, like his attorney, Perry also never thought about telling local
 authorities that he had been indicted federally.

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 allegations          in       the    superseding           indictment,           charging      illegal

 conduct occurring between January of 2009 and January of 2013.

 The tenor of the Government's oral argument suggested that the

 Government has somehow been disadvantaged by defense                                        counsel's

 participation            in    Perry's       2014       conduct.           However,       it   is    the

 Government,         and not         the    defense,        that    seems       most     interested in

 focusing       on       such    post-indictment              facts.        Even        assuming     that

 Perry was acting in 2014 with improper motives in an effort to

 tamper with witnesses,                    by all accounts              such efforts never came

 to    fruition          because      local       authorities            further       researched     the

 2014 complaint and never attempted to arrest,                                  or even interview,

 the    three       individuals        identified           by     Mr.    Perry     and Mr.     Sears.

 Accordingly, although it is impossible to predict how the jury

 will view the 2014 evidence,                      it appears that such evidence will

 either be a boon to the Government,                             or simply be one very small

 data-point for the defense that further demonstrates that Perry

 has consistently pointed his                          finger at         former    employees       since

 late    2012,       a    contention         he    appears         to     have     shared    with    his

 lawyers on numerous occasions over the past several years.

        Although Mr.            Perry may testify at                    trial and may reference

 the "advice of counsel"                    as to this subject,                 the Court does not

 find        that    such        reference,            as    argued        by      the     Government,

 constitutes         an    automatic         basis      for      disqualification           regardless

 of    the    context.           Notably,         as    previously         explained at         length,

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 Perry's      claimed       reliance          on     his   counsel's        advice        does     not

 constitute an affirmative defense that acts as a shield to any

 element of         any    crime       charged in          the    superseding           indictment.

 Rather,      it    appears       that        Perry's      reference        to    his    counsel's

 advice will be a truthful response to the Government's decision

 to focus on Perry's post-indictment conduct.20                             In previewing his

 response to the Government's                      focus   on uncharged accusations of

 misconduct,        Perry     and       his    counsel        have     both      revealed        that,

 similar to the fact pattern in Diozzi,                          counsel's actions in 2014

 were    predicated         on    Mr.         Perry's      representations          and      merely

 present the "client's view" of the relevant facts.                                Accordingly,

 although Perry might             speak        the    words      "advice    of    counsel"       from

 the stand, the Government will easily establish through cross-

 examination that counsel's advice was predicated,                                 at least in

 part,   on   Mr.    Perry's          own   characterization           of   the    facts    to    his

 attorneys.        Accordingly, a reference by Mr. Perry to the "advice

 of   counsel"      does    not       have     the      talismanic     effect      of    automatic

 disqualification because                   the facts currently before                   the Court

 and associated with              counsel's          advice      are   undisputed,         and    the

 true dispute        turns       on    whether       Perry    engaged       in    fraud between

 2009 and 2013.




 20 As noted throughout this opinion, Perry's affidavit conforms
 entirely to Mr. Broughton's affidavit and the Government acknowledges
 that it has no basis (or intention) of challenging the veracity of Mr.
 Broughton's sworn statements.

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        Because       the       prejudice            analysis           turns       largely              on    the

 application of ethical rules,                           a matter that is self-regulated

 unless      and    until       there        is    an         apparent    ethical              violation,        a

 degree of deference should be afforded to                                Perry and his counsel

 to    determine,         based on       their direct              knowledge         of        the       relevant

 facts,      whether       counsel's         testimony           will    be     detrimental               to   Mr.

 Perry if Mr.         Broughton or Mr.                  Davis are called as a witness by

 the Government.            See Sanford,             687 F. Supp.         2d at 602              ("The rules

 of professional responsibility make clear that the resolution of

 conflict of interest questions is principally the responsibility

 of    the   lawyer       undertaking             the     litigation.")             (emphasis             added);

 Va.    Rule       Prof'l       Conduct           1.7,        Comment     [9]       (indicating                that

 " [r]esolving questions of conflict of                            interest is primarily the

 responsibility           of    the     lawyer           undertaking          the    representation,"

 that    while      the    court       and    "opposing counsel                 may properly raise

 the    question,"         an    objection           from       opposing        counsel             "should      be

 viewed      with    caution").              Here,       the     Court    expects          each attorney

 representing         Perry       to    perform           nothing        less       than        a    complete,

 honest,      and searching self-inquiry into the                               potential                that his

 testimony would hurt                 his    client.            See Va.       Rule        Prof'l          Conduct

 3.7,     Comment     [6]       ("Where       a    lawyer may be              called as              a    witness

 other than on behalf of                 the client,             paragraph          (b)        [of Rule 3.7]

 allows      the    lawyer       to    continue           representation            until           it    becomes

 apparent      that       the   testimony may be                  prejudicial             to    the       client.

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 Determining whether or not such a conflict exists is primarily

 the responsibility of the lawyer involved")                                   (emphasis added).

 Subject to the assumption that such inquiry has been faithfully

 performed, and in light of the Government's failure to point to

 any    conflicts           between          Perry      and       his       counsel's            proposed

 testimony, or any prejudice likely to flow from defense counsel

 testifying,          the Government has failed to justify the drastic

 step of disqualification of Mr.                        Perry's chosen counsel.21                       See

 Virginia L.E.O. No. 641, Dec. 19, 1984 (indicating that a lawyer

 may continue in a case even when he or she will be called as                                             a

 witness by opposing counsel "until it becomes apparent that the

 testimony of the [testifying] attorney is or may be prejudicial"

 to    his    client);          Virginia      L.E.O.       866,      Nov.     26,        1986     (same);

 21 The Court acknowledges the Government's assertion that it is unclear
 from the affidavits before the Court whether the 2014 report to local
 police was Mr. Perry's idea that was approved by defense counsel, or
 defense counsel's idea that Mr.      Perry ultimately agreed with.
 Although such distinction could carry some sway with the fact-finder,
 considering         all   of   the   relevant       factors,        the    Court    finds       that   the
 Government's         hypothesis        as    to     the      possibility           of    inconsistent
 testimony is insufficient to support the drastic step of disqualifying
 Perry's chosen counsel.   Rather, the Government's speculation about
 the potential for inconsistent testimony as to this tangential issue
 lends further support to this Court's prior finding that Mr.                                       Perry
 should consult independent counsel before confirming to this Court
 that his trial plan does not rely on the testimony of any of his
 Williams     Mullen       attorneys.        Of    course,      to    the    extent       that    defense
 counsel themselves anticipate a conflict between their testimony and
 Perry's testimony that is, or may be, adverse to Mr. Perry, counsel
 themselves have an obligation to withdraw based on Rule 3.7(b).
 Moreover,  unlike the rules governing withdrawal when counsel is
 necessary to testify on behalf of, and for the benefit of, his client,
 to the extent defense counsel identify any "conflict of interest,"
 between counsel and client, the entire defense firm is required to
 withdraw.   Va. Rule Prof'l Conduct 3.7, Comment [6]; Va. Rule Prof'l
 Conduct     1.10.

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 Tolson       v.     Secor,       35    Va.     Cir.       77,    79    (Fairfax           County    1994)

  (denying           a      motion         seeking           "the           drastic         remedy      of

 disqualification"                because       although         the    defendant           intended    to

 call the plaintiff's counsel as a witness,                                    such testimony did

 not appear to be prejudicial to the plaintiff).

         Based upon          the    required         individualized assessment                  of    this

 criminal          case,    to    include       the    2014      post-indictment             conduct    at

 issue    and       the     sworn      preview        of    the planned         testimony of           Mr.

 Perry (should he choose to testify), the consistent testimony of

 his    attorney          (should he be called by the Government) , and the

 consistent         testimony of          a non-party fact witness                     (who could be

 called    by       either       party),       the     Court     finds       that     the    Government

 fails to demonstrate that defense counsel's testimony "is or may

 be" prejudicial to the defendant.                           See Aetna Casualty,                570 F.2d

 at    1201-02           (reversing       the        district       court's         disqualification

 order    as        improperly          based    on        speculation         as     to    a   possible

 conflict of interest in light of the accepted representation of

 counsel that the multiple defendants'                            factual positions were all

 in alignment) .            Although the Government may at this time have an

 untested hunch,             that      through clever            cross-examination,             it    will

 be    able    to        elicit    slight       differences            in    recollection        between

 Perry and his counsel,                  such theory is not only speculative,                          but

 it    appears       unlikely          based    on    the    consistent         affidavits          before

 this Court.             See Shaffer,         966 F.2d at 145-46              ("We have held that


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 disqualification of a litigant's chosen counsel for violation of

 an ethical        canon   .   .   . may not             be    rested on mere          speculation

 that a chain of events whose occurrence theoretically could lead

 counsel    to     act counter to         his client's               interests might         in fact

 occur"     and     that    "some        stronger            objective        indicator—even           of

 'likelihood'—than simple judicial intuition is needed to warrant

 the    drastic     step    of     disqualification              of     counsel.")          (emphasis

 added).

        This Court's case-specific analysis                           relies        in part on the

 fact that the entire issue for which disqualification is sought

 is tangential to the criminal conduct charged in the indictment,

 and the fact that the Government neither questions the accuracy

 of     defense     counsel's       proffered                testimony     or       suggests        that

 defense counsel participated in any way in Perry's alleged evil

 intent     to    tamper   with witnesses.                    Although        the    Government        is

 free    to proceed at         trial      in        the manner        it   sees      fit   regarding

 presentation of evidence,                limited only by later rulings of this

 Court,     the    Government's          desire         to    call    opposing       counsel      as    a

 witness,        particularly       as     to       a     largely      tangential          issue,      is

 insufficient        to    justify        a     disqualification               order       from     this

 Court.22         Virginia's current ethical rules,                           which unlike many

 22 For similar reasons, this Court finds uncompelling the Government's
 speculative       contention      that       the       Government     will    be     prejudiced       if
 defense counsel does not testify because defense counsel can act as an
 "unsworn witness" through "subtly impart[ing] to the jury his first
 hand knowledge of the events without having to swear an oath and be

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 jurisdictions,             contain          a   vestige            of    the         former      ABA          model

 disciplinary rules,              expressly permit Perry's counsel to continue

 in this case until it becomes apparent that,                                        if called upon as a

 witness      by     the    Government,           defense           counsel's          testimony              is,    or

 may    be,    prejudicial             to    their        client.          Mr.        Broughton's              sworn

 assertion that Mr. Perry told counsel that he did not authorize

 the    checks       in    question as           part          of   an    illegal       conspiracy,                 but

 instead       that       such     checks        constitute              illegal        acts        of        others

 stealing from CPC, can hardly be seen as prejudicial in light of

 the    defense's          apparent          trial        strategy        of    presenting           the        same

 theory of the case to the jury.


 subject to cross examination."                      United States v. Locascio,                   6 F.3d 924,
 933 (2d Cir. 1993).              First, the Fourth Circuit has not adopted a rule
 calling for disqualification of counsel of choice in a criminal case
 based on the "unsworn witness" rule as recognized in Locascio.
 Second, even if such rule applied in this Circuit, as noted throughout
 this Opinion, Perry's counsel's knowledge is relevant only to a
 tangential issue, is entirely consistent with the planned testimony of
 Mr. Sears and Mr.     Perry,  and counsel thus lacks any material
 information that could be "subtly imparted" to the jury.   Cf. Diozzi,
 807 F.2d at 14 (rejecting the government's "unsworn witness theory"
 based on its assertion that even if defense counsel did not testify,
 they "would have framed questions to witnesses and their summation to
 the jury in a manner designed to show that all such statements by the
 defendants . . . were true," explaining that "[c]ompetent trial
 attorneys usually present their cases in a manner designed to convince
 juries that their clients are telling the truth," and that "jurors are
 instructed  that   the  assertions  of  counsel   are  not  evidence";
 therefore, "[d]efense counsel cannot be subject to disqualification
 merely for arguing their clients' positions on statements that are in
 evidence") .         Any       such    risk     of       improper       statements          by     counsel          is
 further      reduced      by    the    fact     that      the      Government's        motion       has       drawn
 this   issue      into     the    light,        and      defense        counsel       will    surely           tread
 carefully      to    avoid       any       impropriety          and     ensure       that    all        of     their
 statements      from the podium are                 as    advocates,          not    witnesses,         lest       the
 Court remind the jury of such fact.      In sum, on these facts, this
 Court  envisions virtually no risk that       the Government will  be
 prejudiced through defense counsel acting as an "unsworn witness."

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              E. Implications of the Court's Denial of the
           Government's Motion to Disqualify Defense Counsel

        There    is     no    doubt     that        the    stakes         of   this      criminal

 prosecution      are    high.         Mr.     Perry       is     charged      with      eighteen

 federal felonies,           he has    apparently already lost his business,

 and the upcoming criminal jury trial is expected to last three

 full   weeks.        The     Government        represents           that      it   is    seeking

 disqualification        of     defense        counsel          in   part      based      on     its

 overarching      concern       of     avoiding           having      a     "taint"       on    any

 conviction obtained which could result in the need to try this

 complex   case   twice.        However,       it    must       be   underscored         that    the

 Government's intent to focus on Perry's 2014 conduct appears to

 be motivated primarily by its desire to use such conduct to the

 Government's     advantage,          and    although       the      Government       has      every

 right to present any relevant and admissible evidence,                                  the risk

 the Government seeks to avoid will in some respects be borne by

 the Government's voluntary decision to focus a part of its case

 on a tangential matter occurring long after the                               termination of

 the criminal conduct alleged in the superseding indictment.23



 23 Assuming that defense counsel remain of the opinion that they do not
 have an ethical duty to testify on behalf of their client,                              as argued
 by the defense while referencing DOJ internal policies that seek to
 avoid, when possible, the Government calling opposing counsel as a
 witness, the Court would encourage the Government to reassess the
 importance of defense counsel's live testimony as to this tangential
 post-indictment conduct, and to meet in person with defense counsel to
 discuss the possibility of entering into a stipulation that         is
 agreeable to all counsel and Mr. Perry.

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           Additionally,              the Government's desire to avoid the risk of

 having any conviction set aside through the disqualification of

 Perry's        counsel         of     choice    appears          somewhat       short-cited             as   the

 Government seeks exclusion of both of Perry's lawyers as well as

 the entire Williams Mullen law firm, while the Supreme Court has

 clearly labeled the improper disqualification of defense counsel

 as    a    "structural error"                requiring a           retrial          regardless          of   the

 quality        of        representation             provided        by     replacement             counsel.

 Gonzalez-Lopez,                548    U.S.     at    150;       Davila,    133       S.    Ct.     at    2149.

 The   similarities              between defense             counsel's       conduct         here    and      the

 conduct        of       defense       lawyers       in Diozzi          further       demonstrates            the

 likelihood that a disqualification order may result in Mr. Perry

 obtaining           a    second       trial     if     this       Court        granted      the     pending

 motion.        Accordingly,            to the extent the Government advocates the

 pursuit of an approach that preserves the integrity of the trial

 outcome,       in light of the facts before this Court and Mr. Perry's

 Sixth      Amendment            right    to     retain          counsel        of    choice,       such       an

 approach would appear to favor the denial of the pending motion.

                                              IV.    Conclusion


           As   an       initial        matter,       the        Court     GRANTS       Angela       Perry's

 motion,        ECF       No.    91,    for     leave       to    join     in    Mr.       Perry's       motion

 seeking        a     bill       of    particulars.               The     motion       for    a     bill       of

 particulars is therefore construed as a joint motion.




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        For    the    reasons       set   forth     in   detail     above,    Defendants'

 joint motion seeking a bill of particulars as to Count Fourteen

 of    the    superseding     indictment       is      GRANTED.     ECF   No.    64.      The

 Government is therefore ORDERED to identify to counsel for both

 remaining Defendants the falsified/forged/altered DMAS-90s that

 the Government will,             or may,    rely on at trial as evidence of

 Defendants'         guilt   as     to    Count     Fourteen      of    the   superseding

 indictment.          The Government should identify such DMAS-90s no

 later than July 23,            2014,     which falls approximately one month

 before commencement of trial.               The Government is further ORDERED

 to immediately supplement such disclosure if it later identifies

 one   or more       additional      altered      or   falsified    DMAS-90s      which    it

 will, or may, rely on at trial with respect to Count Fourteen.

        The    Government's       motion    to disqualify defense               counsel    is

 DENIED.       ECF No. 80.        However, as agreed to by Williams Mullen,

 the    Court    INSTRUCTS        Mr.     Perry     to    consult      with   independent

 counsel      outside of     the Williams Mullen law firm                 to ensure    that

 the best strategic course is to proceed at trial without defense

 counsel's      testimony      as    part   of     Mr.    Perry's      case   rather   than

 having one of Mr.           Perry's lawyers withdraw in order to testify

 as a trial witness on behalf of Mr.                      Perry.        If Mr.    Perry is

 unable to afford independent counsel,                   he should report such fact

 to the Court and the Court will                  investigate such assertion and

 explore appointing counsel for the limited purpose of providing

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 Mr.   Perry independent          advice    on this    issue.   Once        independent

 counsel is retained and/or appointed,                such counsel is INSTRUCTED

 to file a status update with this Court within twenty-one days.

 Such update      should explain,          without    divulging any confidential

 communications,         whether,   after an opportunity to fully discuss

 this issue with disinterested counsel,                 Mr. Perry maintains that

 his   defense      at    trial     would    be   better    served     by    both   Mr.

 Broughton and Mr.         Davis remaining on the trial team rather than

 one of them withdrawing from the trial team in order to testify

 on Mr.     Perry's behalf.

       The Clerk is DIRECTED to send a copy of this Order to all

 counsel    of record.


       IT   IS   SO ORDERED.




                                                                 /S   m&r
                                                             Mark S.   Davis
                                                     United States District Judge
 Norfolk, Virginia
 July X       , 2014




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